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                                       EXHIBIT A

                                         (Lease)




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                           LEASE AGREEMENT



                                  Between




         CHESHIRE DISTRIBUTION CENTER, L.L.C.,
                                 as Landlord



                                   - and-




                    ROADWAY EXPRESS, INC.,
                                  as Tenant




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                                LEASE AGREEMENT


             INDENTURE made this 2.. "D day of July, 2005, by and between
CHESHIRE DISTRIBUTION CENTER, L.L.C., a Delaware limited liability
company, with offices c/o Oaktree Capital Management, LLC, 1301 Avenue of the
Americas, 34th Floor, New York, New York 10019 hereinafter referred to as "Landlord",
and ROADWAY EXPRESS, INC. a Delaware corporation, with offices at 1077 Gorge
Boulevard, Akron, Ohio 44309.


                                 WI TN E S S E TH:


                             ARTICLE 1.DEFINITIONS

       Section 1.1.      Additional Rent. In addition to the Minimum Rent, all other
payments to be made by Tenant to Landlord, shall be deemed to be and shall become
additional rent hereunder whether or not the same be designated as such; and shall be due
and payable on demand or together with the next succeeding installment of rent,
whichever shall first occur together with interest thereon after ten (10) days written
notice. Landlord shall have the same remedies for failure to pay Additional Rent as for a
nonpayment of Minimum Rent. Landlord, at its election, shall have the right to pay or do
any act which requires the expenditure of any sums of money by reason of the failure or
neglect of Tenant to pay any sums due under or perform any of the provisions of this
Lease, and in the event Landlord shall, at its election, pay such sums or do such acts
requiring the expenditure of monies, Tenant agrees to pay Landlord, upon demand, all
such sums, and the sum so paid by Landlord, together with interest thereon after ten (10)
days written notice, shall be deemed additional rent and be payable as such. All payments
required to be made by Tenant to Landlord pursuant to this Lease shall be delivered to the
office of the Landlord at the address set forth on the first page of this Lease or at such
place or places as Landlord may from time to time designate by notice to Tenant, all
without prior demand for same.

        Section 1.2.    Commencement Date.       As used herein shall mean August 1,
2005.

       Section 1.3.     Common Facilities. As used herein shall mean all facilities
furnished in the Industrial Center and designated for the general use, in common, of all
occupants of the Industrial Center, including the Tenant hereunder, its officers, agents,
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employees and customers. Common Facilities shall include, but are not limited to,
parking areas, streets, sidewalks, canopies, roadways, washrooms, shelter, ramps,
landscaped areas and other similar facilities.

       Section 1.4.      Demised Premises. Approximately Seventy-Four Thousand Five
Hundred Fifty-Four (74,554) aggregate square feet of Floor Area located on the ground
floor of the building commonly known as 181 West Johnson Avenue, Cheshire,
Connecticut (the "Building"), designated by cross-hatching on Exhibit A attached hereto
and made a part hereof. The Demised Premises do not include any exterior of the
Building, or any space above the bottom of the structural framework supporting the roof
or below the finished floor level of the area demised.

       Section 1.5.      Industrial Center. As used herein, the Industrial Center shall
mean the land described on Exhibit A attached hereto and by this reference incorporated
herein and the Building and all related common areas and common facilities located
thereon, less any deletion by Landlord pursuant hereto, plus such additions and extensions
as Landlord may from time to time designate as included with the Industrial Center
pursuant hereto. Exhibit A embodies the proposed outline of the Industrial Center of
which the Demised Premises will be a part. Landlord may amend Exhibit A at any time
and make such departures therefrom as Landlord in its sole discretion may from time to
time deem proper, including the minor relocation of the Demised Premises as a result of
construction. The Industrial Center may sometimes be hereinafter referred to as the
Cheshire Distribution Center.

      Section 1.6.      Lease Term. The Lease Term shall be Five (5) full Lease Years,
commencing on the Commencement Date, and ending, unless sooner terminated or
extended as hereinafter provided, at midnight on the last day of the sixtieth (60th) calendar
month following the Commencement Date.

       Section 1.7.     Lease Year. shall mean each period of twelve (12) consecutive
months during the Lease Term commencing on the Commencement Date, except that the
first Lease Year shall be extended by the number of days, if any, required for said first
Lease Year to end on the last day of a calendar month. For example, if the
Commencement Date is August 15, 2005, the first Lease Year shall commence upon such
date, the second Lease Year shall commence upon September 1, 2006 and so on.

       Section 1.8.      Minimum Rent.

         A.     The annual Minimum Rent shall commence upon the
Commencement Date and for and during the first Lease Year shall be Four Hundred
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Thirty Two Thousand Dollars and No Cents ($432,000.00) or Thirty Six Thousand
Dollars and No Cents ($36,000.00) monthly.

              B.      Commencing upon the first day of each of the second, third, fourth
and fifth Lease Years during the Lease Term hereof, the Minimum Rent for each such
Lease Year shall be an amount equal to the Minimum Rent for the immediately preceding
Lease Year increased by the greater of (i) three (3 %) percent or (ii) the percentage change
in the "Consumer Price Index" for the preceding Lease Year measured from the first
month of the prior Lease Year to the twelfth (12th) month of the prior Lease Year. The
Minimum Rent, determined in accordance with this Section 1.8 shall be payable in equal
monthly installments, in advance, on the first day of each month dming the Lease Year
then in effect. As used herein, "Consumer Price Index" shall mean the Consumer Price
Index For All Urban Consumers All Items, United States (CPI-U) (1985-87 = 100)
seasonally adjusted as published by the United States Department of Labor, Bureau of
Labor Statistics, or any replacement thereof. If the manner in which the Consumer Price
Index is determined by the Department of Labor shall be substantially revised, an
adjustment shall be made in such revised index which would have obtained if the
Consumer Price Index had not been so revised. If the current yearly average shall no
longer be used as an index of 100, such change shall constitute a substantial revision. If
the Consumer Price Index shall become unavailable to the public because publication is
discontinued, or otherwise, Landlord will substitute therefor a comparable index based.
upon changes in the cost of living or purchasing power of the consumer dollar published
by any other governmental agency or, if no such index shall then be available, a
comparable index published by a major bank or other financial institution or by a
university or a recognized financial publication shall be substituted.           •

       Section 1.9.       Permitted Use. Tenant shall use the Demised Premises solely for
the purpose of a warehouse and distribution facility for Tenant's business with incidental
office space related to the foregoing and for no other purposes whatsoever.

       Section 1.10.     Real Estate Taxes. As used herein shall mean all real estate
taxes, assessments, water and sewer rents or charges and other governmental impositions
and charges of every kind and nature whatsoever, extraordinary as well as ordinary,
foreseen and unforeseen, and each and every installment thereof, which shall or may
during the Lease Term be assessed, imposed, become due and payable or be levied by the
lawful taxing authorities against the land, buildings and all other improvements in the
Industrial Center, or liens upon or arising in connection with the use or occupancy or
possession of, or becoming due or payable out of or for, the Industrial Center or any part
thereof or any land, buildings or other improvements therein, including all commercially
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reasonable costs and fees incurred by Landlord in contesting same or in negotiating with
the appropriate governmental authorities as to same.

               Except as otherwise set forth in the immediately succeeding paragraph of
this Section 1.10, nothing herein contained shall be construed to include as a Real Estate
Tax any inheritance, estate, succession, transfer, gift, franchise, corporation, income or
profit tax that is or may be imposed upon Landlord; provided, however, that, if at any
time during the Lease Term the methods of taxation prevailing at the commencement of
the Lease Term shall be altered so that in lieu of or as a substitute for the whole or any
part of the taxes now levied, assessed or imposed, there shall be levied, assessed or
imposed an income or other tax of whatever nature, then the same shall be included in the
computation of Real Estate Taxes hereunder. As used in this Lease, the term "Common
Facilities Charges" shall include any excise, transaction, sales or privilege tax hereafter
imposed by any government or governmental agency upon Landlord on account of,
attributed to, or measured by rent or other charges payable by Tenant, or levied by reason
of the public parking made available by Landlord in the Industrial Center. Tenant shall
not have the right to contest the amount or application of any Real Estate Taxes with any
governmental authority.

       Section 1.11.  Tenant's Pro-rata Share. As used herein shall mean a fraction, the
numerator of which shall be the gross rentable area of the Demised Premises and the
denominator of which shall be the gross rentable area of all buildings in the Industrial
                -
Center. As of the Commencement Date, Tenant's Pro-rata Share shall be 14'~  and 15 one
hundredths (14.15%) percent.


                          ARTICLE 2.GRANTING CLAUSE

       Section 2.1.     Lease of Demised Premises. In consideration of the obligation of
Tenant to pay rent as herein provided and in consideration of the other terms, covenants
and conditions hereof, Landlord hereby leases and rents to Tenant, and Tenant hereby
leases and rents from Landlord, the Demised Premises. TO HAVE AND TO HOLD said
Demised Premises for the Lease Term.


                 ARTICLE 3. POSSESSION AND CONSTRUCTION

      Section 3.1.      Demise Includes Use of Common Facilities.       The demise to
Tenant shall include, in addition to the Demised Premises, the right to the nonexclusive

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use in common with others of the Common Facilities, subject, however, to the terms and
conditions of this Lease and to the rules and regulations set forth in Exhibit B which is
attached hereto and made a part hereof.

       Section 3.2.      Quiet Enjoyment. Tenant, upon paying the rent and performing
Tenant's obligations in this Lease, shall peacefully and quietly have, hold and enjoy the
Demised Premises and the appurtenances thereunto appertaining throughout the Lease
Term, subject, however, to the provisions of this Lease, to all other agreements,
conditions, restrictions and encumbrances and mortgages to which this Lease is or may
become subject and subordinate.

       Section 3.3.       Industrial Center. Tenant acknowledges that Exhibit A attached
hereto is a site plan which generally depicts the layout of the Industrial Center.

       Section 3.4.     No Preparation of Demised Premises by Landlord.

             A.      Tenant shall take possession of the Demised Premises on the
Commencement Date in a strictly "as is", "where is" condition, and Landlord shall have
no obligation to alter, improve, decorate or otherwise prepare the Demised Premises for
Tenant's occupancy except that on or prior to the Commencement Date, Landlord shall
deliver the dock and surrounding parking areas in so-called "broom clean" condition
("Landlord's Work"). The taking of possession of the Demised Premises by Tenant shall
be deemed a delivery of the Demised Premises by Landlord and an absolute and
unconditional acceptance of same by Tenant. Without limiting the generality of the
foregoing, Tenant (and not Landlord) shall be fully responsible at Tenant's own cost and
expense for repairing and maintaining all mechanical, electrical, lighting and plumbing
systems ("Building Systems") in good operating order and condition throughout the Lease
Term. The Building Systems shall be delivered in working order on the Commencement
Date.

             B.     The parties agree that Tenant shall be solely responsible for
performing any alteration or other work necessary or desired by Tenant for its occupancy
of the Demised Premises. Tenant agrees that it will promptly upon the Commencement
Date with due diligence proceed and shall install such fixtures and equipment and
perform such other work, including the Initial Tenant Work described below, as shall be
necessary and appropriate in order to prepare the Demised Premises for the
commencement of its business operations.




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              C.     Landlord has made no representations, warranties or promises with
respect to this Lease, to the Demised Premises, to any fixtures, equipment or other
property therein or to any matter related thereto, whether express or implied and Tenant
acknowledges that it has not relied upon any representations, warranties or promises,
whether from Landlord or from any of Landlord's employees, agents or representatives.
ALL IMPLIED WARRANTIES ARE EXCLUDED, INCLUDING IMPLIED
WARRANTIES OF MERCHANTABILITY AND FITNESS, IF ANY. Tenant waives
any right to rescind this Lease under the laws of the State of Connecticut and further
waives any damages which may result from any lack of completion of the Demised
Premises.

       Section 3.5.     Initial Tenant's Work.

        Tenant shall, promptly upon the Commencement Date, perform all work necessary
to prepare the Demised Premises for Tenant's occupancy (the "Initial Tenant's Work") at
its sole cost, expense and risk in accordance with the design, materials and standards that
Landlord shall determine are standard or appropriate for the Building and Industrial
Center; provided, however, that Tenant shall make any changes in Tenant's Initial Work
required by any governmental department or bureau having jurisdiction of the Center. The
Initial Tenant's Work shall be performed by Tenant in full compliance with the terms,
provisions of conditions set forth below in Article V.

                         ARTICLE 4.TENANT PAYMENTS

       Section 4.1.      Tenant's Obligations To Pay Minimum Rent and Other Charges.
During the Lease Term, Tenant shall pay to Landlord without any prior demand and
without any deduction or set-off whatsoever, Minimum Rent in the manner hereinafter set
forth. In addition to Tenant's obligation to pay.Minimum Rent, Tenant shall pay any tax,
whether a sales tax or otherwise, which is or shall be imposed on Tenant's payment of rent
hereunder. Tenant further covenants and agrees to pay, as set forth hereinbelow,
maintenance, taxes and insurance charges, all of which are included within the term
"Additional Rent".

       Section 4.2.     Additional Rent Adjustment. Should Tenant's obligations for the
payment of Additional Rent cover less than a full calendar year, Tenant's liability for
Additional Rent, excluding Real Estate Taxes, shall be subject to a pro rata adjustment
based upon a fraction, the numerator of which is the number of days for which Tenant's
obligation to pay Additional Rent, excluding Real Estate Taxes, is in effect, and the
denominator of which is the number of days in the calendar year.

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       Section 4.3.     Minimum Rent. Tenant shall pay to Landlord the Minimum Rent
in the amounts set forth in this Lease. Tenant covenants and agrees to pay to Landlord
the Minimum Rent in advance on the first day of each calendar month during the Lease
Term, in equal monthly installments, without deduction or set-off. The Minimum Rent
shall commence to accrue on the Commencement Date, on which date Tenant shall pay to
Landlord the pro-rata amount applicable to the period from the Commencement Date to
the first day of the calendar month immediately following the Commencement Date,
together with the payment of the Minimum Rent for the first full calendar month.

        Section 4.4.      Common Facilities Charge.            Commencing with the
Commencement Date, and continuing thereafter during the Lease Term, Tenant will pay
to Landlord, Tenant's Pro-rata Share of Landlord's operating cost of the Common
Facilities (the "Common Facilities Charge"). Tenant's Common Facilities Charge shall be
a monthly charge to be paid in advance, on the first day of each month, without deduction
or set-off. Tenant's initial Common Facilities Charge shall be estimated by Landlord and
the amount of such estimate shall be furnished to Tenant on or around to the Commence-
ment Date. Within ninety (90) days after the end of each Lease Year of the Lease Term,
Landlord will furnish to Tenant a statement of the amount of Landlord's operating cost of
the Common Facilities for the immediately preceding Lease Year, Landlord's estimate of
Landlord's cost of operating the Common Facilities for the then Lease Year and Tenant's
Common Facilities Charge for the then Lease Year. Tenant shall pay any deficiency in
Tenant's Common Facilities Charge with respect to both the preceding Lease Year and
the then Lease Year (as a result of any delay in adjusting the monthly Common Facilities
Charge for the then Lease Year) contemporaneously with the next regular installment of
Tenant's Common Facilities Charge, which shall be adjusted to reflect Landlord's estimate
of the cost of operating the Common Facilities for the then Lease Year. Landlord may
increase the monthly payment of Common Facilities Charge to compensate for increased
expenses for snow removal during periods of unusual snow fall. In addition, Tenant shall
be solely responsible for the cost of maintenance and repair and snow and ice removal
from all areas where Tenant is granted exclusive parking rights herein. Landlord shall
credit any excess payments made by Tenant against the next regular installment of
Tenant's Common Facilities Charge.

              Tenant's Common Facilities Charge shall be based on the cost and expense
of operating, maintaining and managing the Common Facilities in a manner deemed by
Landlord reasonable and appropriate and for the best interest of the Industrial Center,
including without limitation:



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             · (a)    All costs and expenses, including capital expenses (the cost of each
capital expense, plus interest charges paid thereon, shall be amortized on a straight-line
basis over its estimated useful life and only the annual amortization cost of such capital
expense shall be included in Tenant's Common Facilities Charge for each Lease Year
until the cost of such capital expense is fully amortized), of operating, repairing, lighting,
cleaning, painting, striping, securing (including cost of uniforms, equipment and all
employment taxes) and insuring (including liability insurance for personal injury, death
and property damage, insurance and extended coverage against fire, theft or other
casualty, worker's compensation insurance covering personnel, fidelity bonds for
personnel, insurance against liability for defamation and claims of false arrest occurring
in or about the Common Facilities, and plate glass insurance for glass exclusively serving
the Common Facilities) the Common Facilities;


             (b)    All costs and expenses incurred by Landlord in making the
Landlord's Repairs as set forth in Section 10.01 hereof.

              (c)     All costs and expenses of paying all personnel employed on a full or
part-time basis in the operation, maintenance or repair of the Common Facilities;

              (d)    All costs and expenses of removal of rubbish and debris;

              (e)    All costs and expenses of regulating traffic;

               (f)   All costs and expenses of inspecting and depreciation on (straight-
line) machinery and equipment used in the operation and maintenance of the Common
Facilities and personal property taxes and other charges incurred in connection with such
equipment;

              (g)   All costs and expenses of the maintenance and replacement of
paving, curbs, walkways, drainage and lighting facilities in the Common Facilities;

             (h)    All costs and expenses of planting, replanting and replacing flowers,
shrubbery and planters in the Common Facilities and the supplies required therefor;

              (i)    All costs and expenses in the maintenance and replacement of the
built-up roof system and all items in connection therewith, including but not limited to,
flashing, expansion joints, pitch boxes, curbs, gutters, leaders and skylights;



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              G)     The cost of all utilities, including the cost of standby water for fire
protection, used in connection with the operation of the Common Facilities;

              (k)    The cost of snow and ice removal from the Common Facilities; and

              (1)   The cost of property management services which shall not exceed
commercially reasonable rates. Tenant acknowledges and agrees that 20 cents per square
foot for property management services is a commercially reasonable rate.

       Section 4.5.     Net Lease. It is the intention of the parties that the rent payable
hereunder shall be absolutely net to Landlord, so that this Lease shall yield to Landlord
the net annual basic minimum rent specified herein during the term of this Lease, and that
all costs, expenses and obligations of every kind and nature whatsoever relating to the
Demised Premises shall be paid by Tenant and shall be deemed to be and shall become
Additional Rent hereunder whether or not the same be designated as such and Landlord
shall have the same remedies for failure to pay same as for a non-payment of rent.

       Section 4.6.      Utility Service Charges. The electricity and gas servicing the
Demised Premises will be separately metered to the Demised Premises and Tenant will be
responsible for the utility charges incurred in connection with such use and shall make
timely payments to the appropriate companies as billed by any said company.

        Section 4.7.     Taxes.     Commencing with the Commencement Date and
continuing thereafter during the term of this Lease, Tenant agrees to pay to Landlord on
the first day of each month, in advance, and without deduction or set-off, Tenant's Pro-
rata Share of Real Estate Taxes. Tenant's initial monthly charge for Real Estate Taxes
shall be based on Landlord's estimate of Real Estate Taxes, written notice of which
charge for the initial tax year (as that term is hereinafter defined) shall be furnished to
Tenant at or around the Commencement Date.· Such monthly charge may be periodically
adjusted by Landlord to more accurately reflect Tenant's share of Real Estate Taxes.

              Within ninety (90) days of receipt of the tax bills for each tax year,
Landlord shall mail to Tenant a statement setting forth the Real Estate Taxes and the
amount of Tenant's pro-rata share of Real Estate Taxes. Tenant's Pro-rata Share of Real
Estate Taxes paid or payable for each tax year during the Lease Term shall be adjusted
between Landlord and Tenant, each party hereby agreeing to pay to the other, within
thirty (30) days of the mailing of the aforesaid statement to Tenant, such amount as may
be necessary to effect Tenant's proportionate share of Real Estate Taxes based upon ·
actual amounts due. The term "tax year" as used herein shall mean the twelve-month


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period established as the real estate tax year by the taxing authorities having jurisdiction
over the Industrial Center.

               Should Tenant's obligation for the payment of Real Estate Taxes pursuant to
this Lease originate or terminate for less than a full tax year, Tenant's liability for Real
Estate Taxes shall be subject to a pro rata adjustment based on the number of months of
said tax year for which Tenant's obligation to pay Real Estate Taxes is in effect.

              Tenant shall pay promptly when due all taxes directly or indirectly imposed
or assessed on Tenant's business operations, machinery, equipment, improvements,
inventory and other personal property or assets, whether such taxes are assessed against
Tenant, Landlord or the Industrial Center as a single entity. In the event that such taxes
are imposed or assessed against Landlord or the Industrial Center, Landlord, upon
request, shall furnish Tenant with all applicable tax bills, public charges and other
assessments or impositions.

               Notwithstanding the foregoing, Tenant shall pay during the Lease Term its
pro-rata share of water and sewer charges for the Industrial Center. These charges shall
be billed in a manner similar to that set forth above for Real Estate Taxes.

       Section 4.8.      Insurance Premiums. Tenant agrees to pay, within thirty (30)
days after demand, any increase in premiums that may be charged on insurance carried by
Landlord resulting from Tenant's use or occupancy of the Demised Premises or the
Industrial Center (the· "Insurance Premium Charge"). In determining whether increased
premiums are the result of Tenant's use or occupancy of the Demised Premises, a
schedule or "make-up" rate of the organization issuing the fire insurance, extended
coverage, vandalism and malicious mischief, special extended coverage or any all-risk
insurance rates for the Demised Premises or Industrial Center or any rule books issued by
the rating organization or similar bodies or rating procedures or rules of Landlord's
insurance companies shall be conclusive evidence of the several items and charges which
make up the insurance rates and premiums on the Demised Premises and the Industrial
Center. If due to the Tenant's failure to occupy the Demised Premises, as herein
provided, any such insurance shall be canceled by the insurance carrier, then Tenant shall
indemnify and hold Landlord harmless against any loss which would have been covered
by such insurance. Tenant also shall pay any increase in premiums on rent insurance as
may be carried by Landlord for its protection against rent loss through fire or other
casualty, if such increase shall result from Tenant's occupancy or failure to occupy.


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               Commencing with the Commencement Date, Tenant further agrees to pay
Tenant's pro rata share of the premiums charged for fire and extended coverage and
liability insurance with all its endorsements carried by Landlord for those portions of the
Industrial Center, other than the Common Facilities. Said sum shall be paid on the first
day of each month, in advance and without deduction or set-off.

              Within ninety (90) days after receipt by Landlord of the statement for
payment of premium, Landlord shall mail to Tenant a statement setting forth: the amount
of said insurance premium, and the amount of Tenant's Pro-rata share of the insurance
premium. Tenant's pro rata share of insurance premiums paid or payable for each year
during the Lease Term shall be adjusted between Landlord and Tenant, each party hereby
agreeing to pay to the other, within thirty (30) days of mailing the aforesaid statement to
Tenant, such amount as may be necessary to effect Tenant's pro-rata share of insurance
premiums based upon actual amounts due and appropriate adjustment shall be made in
Tenant's monthly payment for insurance premiums.

              During any part of the Lease Term which shall be less than a fulL calendar
year, any insurance premium shall be prorated on a daily basis between the parties to the
end that Tenant only shall pay the insurance premium attributable to the portion of the
calendar year within the Lease Term.

                           ARTICLE 5. TENANT'S WORK

       Section 5.1.     Except as expressly set forth herein, Tenant shall not, without
Landlord's prior written approval, make (i) structural changes or alterations in or to the
Demised Premises of any nature, (ii) changes or alterations which affect the Building's
systems, which term shall include the Building's utility, plumbing, ventilating, electrical,
air conditioning or heating systems or (iii) non-structural changes or alterations costing
more than $10,000 in the aggregate. Prior to Tenant's commencing the Initial Tenant's
Work described in Section 3.5 above, or any other work in the Demised Premises for
which Landlord's prior approval is required, Tenant shall submit to Landlord for
Landlord's written approval (which approval shall not be unreasonably withheld for non-
structural work which does not affect any building systems), complete drawings, plans
and specifications (herein collectively referred to as "Tenant's Plan") for the
improvements and installations to be made by Tenant (said Initial Tenant's Work,
together with all other work contemplated in this Article V is herein collectively referred
to as "Tenant's Work"). Tenant shall also submit to Landlord for Landlord's written
approval the proposed budget (updated as any work progresses) for all Tenant's Work to
be made by Tenant and a list of contractors and subcontractors for Tenant's Work. Upon
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request, Tenant agrees to employ Landlord's contractor to perform any part of Tenant's
Work with respect to the Building's systems or the exterior of the Demised Premises
and/or any structural aspect of Tenant's Work. Tenant acknowledges that said Landlord's
contractor may be a related party to Landlord and Tenant has no objection thereto.
Tenant's Plan shall be fully detailed, shall show complete dimensions, shall not require
any changes in the structure of the Building (except as expressly permitted pursuant
hereto) and shall not be in violation of any laws, order, rules or regulations of any
governmental department or bureau having jurisdiction of the premises. Tenant shall pay
all out-of-pocket expenses paid or incurred by Landlord in reviewing and approving
Tenant's Plan and Tenant's Work.

       Section 5.2.      Within ten (10) days after submission to Landlord of Tenant's
Plan, Landlord· shall either approve same or shall set forth in writing the particulars in
which Landlord does not approve same, in which latter case Tenant shall, within ten (10)
days after Landlord's notification, return to Landlord appropriate corrections thereto.
Such corrections shall be subject to Landlord's approval not to be unreasonably withheld.
 Tenant shall pay to Landlord, promptly upon being billed, any reasonable charges or
expenses of Landlord's architects and engineers in reviewing Tenant's Plan and/or
insuring compliance therewith.

       Section 5.3.      Tenant further agrees that Tenant shall not make any changes in
Tenant's Plan subsequent to approval by Landlord unless Landlord. consents to such
changes. Tenant shall pay to Landlord all costs and expenses caused by such change
which Landlord may incur or sustain in the performance by Landlord of any construction
or work in the building. Landlord shall have the right to refuse to consent to any such
changes if in the reasonable judgment of Landlord or Landlord's architect such changes
materially deviate from Tenant's Plan theretofore approved by Landlord or otherwise
violate the terms of this lease. Any charges payable under this subparagraph 5.3 shall be
paid by Tenant from time to time upon demand as additional rent, whether or not the lease
term shall have commenced.

       Section 5.4.   Following compliance by Tenant with its obligations under the
foregoing subparagraphs and approval of Tenant's Plan by Landlord, Tenant shall
commence Tenant's Work and it shall proceed diligently with same in a good and
workmanlike manner using first-class materials in order to complete same. within a
reasonable period ohime.

       Section 5.5.      Tenant agrees that in the performance of Tenant's Work (i)
neither Tenant nor its agents or employees shall interfere with the work being done at the

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Industrial Center by Landlord and its contractors, agents and employees, (ii) that Tenant
shall provide Landlord with adequate security (in the form of completion bond, letter of
credit or other form, as determined by Landlord) to secure Tenant's full and timely
performance and completion of Tenant's Work ("Security"), (iii) that Tenant shall comply
with any reasonable rules and regulations proposed by Landlord, its agents, contractors or
employees, (iv) that all personnel employed by Tenant shall be harmonious and
compatible with the labor employed by Landlord in the building, it being agreed that if in
Landlord's judgment the labor is incompatible with the labor employed by Landlord or
construction labor employed by other tenants in the Industrial Center, Tenant shall
immediately resolve such incompatibility, or upon Landlord's demand immediately
withdraw such labor from the premises, (v) that prior to commencing Tenant's Work,
Tenant shall procure and deliver to Landlord. worker's compensation, public liability,
property damage and such other insurance policies, in such amounts as shall be
reasonably acceptable to Landlord in connection with Tenant's Work, and shall upon
Landlord's request cause Landlord, any mortgagee of the Industrial Center and such other
entities as Landlord shall designate to be named as an insured thereunder, (vi) that Tenant
shall hold Landlord, any mortgagee of the Industrial Center and such other entities as
Landlord shall designate harmless from and against any and all claims arising from or in
connection with any act or omission of Tenant or its agents, contractors and employees,
(viii) that Tenant's Work shall be performed in accordance with the approved Tenant's
Plan and in compliance with the laws, orders, rules and regulations of any governmental
department or bureau having jurisdiction of the demised premises and Tenant shall
immediately correct any non-conforming work, and (vii) that Tenant shall promptly pay
for Tenant's Work in full and shall not permit any lien to attach to the Demised Premises
or the land and/or Industrial Center.

       Section 5.6.     In the event that Tenant shall not diligently perform and fully pay
for Tenant's Work and/or causes or permits any·liens to attach to the Demised Premises or
the building containing the Demised Premises, as determined by Landlord, then, in
addition to any other remedies of Landlord in this lease contained, by law or otherwise,
Landlord shall, to the extent Landlord deems necessary, be entitled to restore and/or
protect the Demised Premises or the Industrial Center, and to pay or satisfy any costs,
damages or expenses in connection with the foregoing and/or Tenant's obligations under
the lease.

       Section 5.7.      All trade fixtures and equipment installed or used by Tenant in
the Demised Premises shall be fully paid for by Tenant in cash and shall not be subject to
conditional bills of sale, chattel mortgage or other title retention agreements, unless the
lender under such conditional bill of sale, chattel mortgage or other title retention interest

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shall in substance expressly acknowledge that its interest does not affect Landlord's
interest in the Demised Premises or the Industrial Center.

       Section 5.8.      Notice is hereby given that the Landlord shall not be liable for
any labor or materials furnished or to be furnished to the Tenant upon credit, and that no
mechanic's or other lien for any such labor or materials shall attach to or affect the
reversion or other estate or interest of the Landlord in and to the Demised Premises or the
Industrial Center.

      Section 5.9.      Notwithstanding anything to the contrary contained herein,
Landlord shall not be obligated to give its consent or approval regarding Tenant's Work in
the event that such consent or approval is required of, and not given by, Landlord's
mortgagee. Tenant's Work shall in all respects conform to the requirements, if any,
imposed by any mortgage on the Industrial Center with respect to such alterations and
improvements.

       Section 5.10.     Landlord may, at any time and from time to time, in addition to
any other right of access given to Landlord pursuant to the terms of this lease, enter upon
the Demised Premises with one or more engineers and/or architects of Landlord's
selection to determine the course and degree of completion of Tenant's Work and its
compliance with Tenant's Plan and the terms and conditions of this lease. In addition,
Tenant agrees to allow other tenants of the Building and their guests and invitees, with
appropriate reasonable identification and/or authorization, to pass through Tenant's
outdoor gated areas at all times.


                       ARTICLE 6. USE OF THE PREMISES

       Section 6.1.     Permitted Use. During the Lease Term the Demised Premises
shall be used and occupied solely for the purposes set forth in Section 1.9 and for no other
purposes without the written consent of Landlord. Upon the Commencement Date,
Tenant shall commence the conduct of its business and shall continuously, actively and
diligently thereafter operate its business at the Demised Premises in a high-grade and
reputable manner and in accordance with the terms, provisions and conditions of this
Lease.

       Section 6.2.     Operation of Demised Premises.

            A.     If any governmental license or permit shall be required for the proper
and lawful conduct of Tenant's business in the Demised Premises or any part thereof,

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Tenant, at its expense, shall duly procure and thereafter maintain such license or permit
and submit the same to Landlord for inspection. Tenant shall at all times comply with the
terms and conditions of each such license or permit. Without limiting the generality of
the forgoing, Tenant (and not Landlord) shall be responsible at its own cost, expense and
risk to obtain a certificate of occupancy for Tenant's use and occupancy of the Demised
Premises, it being agreed, however, that Landlord shall reasonably cooperate with
Tenant's obtaining any local permitting relating to Tenant's use of the Demised Premises
as herein contemplated, and Tenant shall pay Landlord's out-of-pocket expenses paid or
incurred in connection therewith.

              B.      Tenant shall not at any time use or occupy the Demised Premises, or
suffer or permit anyone to use or occupy the Demised Premises, or do anything to be done
in, brought into or kept on the Demised Premises, which in any manner in the sole
discretion of Landlord (a) violates the Certificate of Occupancy for the Demised
Premises; (b) causes or is liable to cause injury to the Demised Premises or the Industrial
Center or any equipment, facilities or systems therein; (c) constitutes a violation of the
laws and requirements of any public authorities or the requirements of insurance bodies;
(d) constitutes a nuisance, public or private; (e) makes unobtainable from reputable
insurance companies authorized to do business in the State of Connecticut any fire insur-
ance with extended coverage, or liability, elevator, boiler or other insurance at standard
rates required to be furnished by Landlord under the terms of any mortgages covering the
Demised Premises; (f) discharges objectionable fumes, vapors or odors into the Demised
Premises and/or Industrial Center's flues or vents or otherwise in such manner as may
offend other tenants or occupants of the Industrial Center; or (g) is in violation of laws or
any regulation of any governmental authority.

               C.    Tenant, at Tenant's expense, shall at all times cause all portions of
the Demised Premises to be kept in a clean and safe condition, including, without
limitation, the windows, doors and loading docks thereof, in a manner reasonably
satisfactory to Landlord and in compliance with the requirements of all governmental
authorities having jurisdiction therein.

             D.     Tenant covenants and agrees at all times during the term of this
Lease, except when and to the extent that the Demised Premises may be untenantable by
reason of damage by fire or other casualty, to continuously and uninterruptedly use,
occupy and operate for the Permitted Use all of the Demised Premises.




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             E.      Tenant covenants and agrees that no part of the loading docks,
drives, sidewalks or walkways abutting or leading to the Demised Premises, nor the
Demised Premises itself, has been leased to Tenant for retail, commercial or sale purposes
and that Tenant shall use no part thereof for such purposes.

              F.     Tenant covenants at all times to exterminate and keep the Demised
Premises in a clean, sanitary and wholesome condition at its own cost and expense.

               G.     Tenant shall store all of Tenant's refuse and rubbish in the Demised
Premises enclosed areas and in sanitary containers and arrange for it to be removed from
the Demised Premises at Tenant's sole cost and expense. Landlord shall not be required
to furnish any services or equipment for the removal of such refuse and rubbish. Tenant
further agrees that the refuse and rubbish to be collected or disposed of from the Demised
Premises shall be removed only in accordance with the present or future regulations
established by Landlord. If the use of plastic bags for external refuse storage and disposal
is unsatisfactory due to vandalism or other cause, Tenant will place refuse, at Landlord's
request, in metal containers.

              H.    Tenant shall not place any item, merchandise, inventory, fixture or
equipment within the Demised Premises which will have a weight in excess of the floor
load of the Demised Premises.

             I.    Tenant agrees that the tenant occupying the space to the north of the
Demised Premises (currently H&M) shall have the right to use the doorway connecting
the Demised Premises to such space for emergency egress if necessary.

       Section 6.3.     Rules and Regulations. The rules and regulations set forth in
Exhibit B are made a part of this Lease, and Tenant agrees to comply with and observe
the same. Tenant's failure to keep and observe the rules and regulations shall constitute a
breach of the terms of this Lease in the manner as if the same were contained herein as
covenants. Landlord reserves the right from time to time to reasonably amend or
supplement said rules and regulations and to adopt and promulgate additional reasonable
rules and regulations applicable to the Demised Premises and the Industrial Center.
Notice of such additional rules and regulations, and amendments and supplements, if any,
shall be given to Tenant, and Tenant agrees to comply with and observe all such
amendments and supplements from and after the date of such notice.

       Section 6.4.      Parking. Tenant shall have the right to use in accordance with
other tenants at the Building, the parking areas on the north and east sides of the Building
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where designated on Exhibit A. In addition, Tenant shall have the right to exclusive use
of the parking areas designated on Exhibit A for the parking of Tenant's trucks, subject
however to the rights of the existing tenants of the Industrial Center to unobstructed
access and passage over and through such areas. Tenant shall not have the right to park
its cars or trucks in any other areas of the Industrial Center except as set forth in the
preceding two (2) sentences and in Article XXXI.


                     ARTICLE 7.VII. COMMON FACILITIES.

        Section 7.1.     Common Facilities Under Control of Landlord. The Common
Facilities shall at all times be subject to the exclusive control and management of
Landlord, and Landlord shall have the right from time to time, and providing the visibility
of and the access to the Demised Premises are not materially and adversely affected, to do
any of the following: add, alter or construct upon any portion of the Industrial Center;
change the area, level, location and arrangement of such parking areas and other facilities
comprising the Common Facilities; restrict parking by Tenant and its employees to
employee parking areas; do such things as in Landlord's reasonable discretion may be
necessary regarding said facilities; and make all rules and regulations pertaining to and
necessary for the proper operation and maintenance of the Common Facilities. Except as
in this Lease specifically provided, Tenant shall have no right or interest in the Common
Facilities. If the Common Facilities shall be changed or diminished in accordance with
the terms hereof, Landlord shall not be subject to any liability to Tenant and Tenant shall
not be entitled to any compensation or abatement of rent nor shall any change or
diminution of such areas be deemed constructive or actual eviction. Tenant agrees not to
hinder, block or deny access of vehicular ingress and egress of any other tenant to and
from the Building.

       Section 7.2.      Industrial Center as Private Property. In order to establish that
the Industrial Center, and any portion thereof is and will continue to remain private
property, the Landlord shall have the unrestricted right in the Landlord's sole discretion,
with respect to the entire Industrial Center and/or any portion thereof owned or controlled
by the Landlord, to close the same to the general public for one (1) non-business day in
each calendar year and, in connection therewith, to seal off all entrances to the Industrial
Center or any portion thereof.




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                           ARTICLE 8.VIII. UTILITIES

       Section 8.1.     Obtaining Utilities. Tenant shall make application for, arrange
for and pay or cause to be paid and shall be solely responsible for all charges for utility
services and shall indemnify Landlord and save it harmless against any liability or charges
on account thereof. In the event any such utility charges are not paid by Tenant when
due, Landlord may pay the same to the utility company or department furnishing the same
and any amount so paid by Landlord shall be paid by Tenant as additional rent for the
month next following such payment by Landlord.

         Section 8.2.    Installation of Equipment by Tenant. Tenant further agrees that it
will not install any equipment which will exceed or overload the capacity of any utility
facilities and that if any equipment installed by Tenant shall require additional utility
facilities, the same shall be installed at Tenant's expense in accordance with plans and
specifications to be approved in writing by Landlord.

       Section 8.3.     Cessation of Utilities. Landlord shall not be liable to Tenant for
any damages should the furnishing of any utilities by any utility company be interrupted
or required to be terminated because of necessary repairs or improvements or any cause
beyond the control of Landlord. Nor shall any such interruption or cessation relieve
Tenant from the performance of any of Tenant's covenants, conditions and agreements
under this Lease.

       Section 8.4.      Demised Premises Heating and Air-Conditioning. Tenant agrees
to operate the heating and air-conditioning servicing the Demised Premises in such a
manner so as to maintain an adequate temperature within the Demised Premises during
Tenant's business hours and at such temperatures during non-business hours to prevent
the freezing of any pipes or plumbing facilities: Tenant agrees to keep in force a standard
maintenance agreement, at the sole expense of Tenant, and to furnish a copy of such
agreement to Landlord upon request. If Tenant does not provide such maintenance
agreement, Landlord shall have the right to enter into such agreement on behalf of Tenant
at Tenant's sole cost and expense.

      Section 8.5.    A. Prior to the Commencement Date, Landlord, at Landlord's
expense, shall have installed a submeter or submeters in the Demised Premises to
measure Tenant's actual consumption of electricity in the entire Demised Premises.
Tenant shall pay to Landlord, from time to time, upon demand, for the electricity
consumed in the Demised Premises, as determined by such submeter or submeters, the

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actual cost to Landlord of purchasing electricity for the Demised Premises (as such actual
cost is hereinafter defined) plus all applicable taxes thereon. In addition to the payment
required to be made by Tenant to Landlord for the electricity consumed in the Demised
Premises as aforesaid, Tenant shall also pay to Landlord as an administrative fee a sum
equal to five (5%) percent of such actual cost to Landlord of purchasing electricity for the
remises. Landlord's actual cost for Tenant's KW and KWH shall be determined by the
application of the Building's electric rate schedule per month from the corporation(s)
and/or other entity(ies) selected by Landlord to supply electrical service to the Building to
Tenant's usage. With respect to any period when any such submeter is not in good
working order, Tenant shall pay Landlord for electricity consumed in the portion of the
Premises served by such submeter at the rate paid by Tenant to Landlord during the most
recent comparable period when such submeter was in good working order plus such five
(5%) percent administrative fee. Tenant shall take good care of any such submeter and all
submetering installation equipment, at Tenant's sole cost and expense, and make all·
repairs thereto occasioned by any acts, omissions or negligence of Tenant or any person
claiming through or under Tenant as and when necessary to insure that any such submeter
is, at all times during the Term, in good working order.

                 B.   Landlord may, at any time, elect to discontinue the redistribution or
furnishing of electrical energy. In the event of any such election by Landlord, (i)
Landlord agrees to give reasonable advance notice of any such discontinuance to Tenant,
(ii) Landlord agrees to permit Tenant to receive electrical service directly from the
corporation(s) and/or other entity(ies) Landlord selects to supply electrical service to the
Building and to permit the existing feeders, risers, wiring and other electrical facilities
serving the Demised Premises to be used by Tenant for such purpose to the extent they
are suitable and safely capable, (iii) the provisions of Subsection A of this Section 8.5
shall be deemed deleted from this Lease, and (iv) this Lease shall remain in full force and
effect and such discontinuance shall not constitute an actual or constructive eviction, in
whole or in part, or entitle Tenant to any abatement or diminution of rent, or relieve
Tenant from any of its obligations under this Lease, or impose any liability upon Landlord
or its agents by reason of inconvenience or annoyance to Tenant, or injury to or
interruption of Tenant's business, or otherwise. Notwithstanding anything to the contrary
contained in this Section 8.0SB., Landlord agrees that Landlord shall not voluntarily
discontinue the redistribution or furnishing of electrical energy until Landlord shall have
made or paid for all installations required to provide Tenant with electrical service similar
to the electrical service which Tenant had in the Demised Premises immediately prior to
such discontinuance so that Tenant shall, upon such discontinuance, be able to receive
electrical service directly from the public utility corporation supplying electrical service to
the Building.
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                                  ARTICLE 9. LIENS

       Section 9.1.      Discharge of Lien. Tenant shall, prior to the commencement of
any work upon the Demised Premises, do all things necessary to prevent the filing of any
mechanics' or other liens against the Industrial Center, the Demised Premises or any part
thereof by reason of work, labor, services or materials supplied or claimed to have been
supplied to Tenant or anyone holding the Demised Premises, or any part thereof, through
or under Tenant. If any such lien or notice thereof shall at any time be filed against the
Demised Premises, then Tenant shall either cause the same to be discharged of record
within twenty (20) days after the date of filing of the same or, if Tenant, in Tenant's
discretion and in good faith, determines that such lien should be contested, furnish such
security as may be necessary or required to prevent any enforcement or foreclosure
proceedings against the Demised Premises during the pendency of such contest. If
Tenant shall fail to discharge such lien within such period or fail to furnish such security,
then, in addition to any other right or remedy of Landlord resulting from such default,
Landlord may, but shall not be obligated to, discharge the same either by paying the
amount claimed to be due or by procuring the discharge of such lien in such manner as is,
or may be, prescribed by law. Tenant shall repay to Landlord, as additional rent, all sums
disbursed or deposited by Landlord pursuant to the foregoing provisions of this Section
9.1, including interest and the costs, expenses and reasonable attorneys' fees incurred by
Landlord in connection therewith.


       ARTICLE 10.           MAINTENANCE, REPAIR AND ALTERATIONS

       Section 10.1.     Landlord and Tenant Repair. Landlord will make necessary
structural repairs to the Building's roof, foundation and exterior walls, excepting any
work done by Tenant or by Landlord for Tenant; provided, however, that in each case
Tenant shall have given Landlord prior written notice of the necessity of such repairs
("Landlord's Repairs"). The cost of all repairs made by Landlord shall be included in the
Common Facilities Charge pursuant to Paragraph 4.4 of this Lease. If any such repair is
required by reason of Tenant's negligence or the negligence of any of its contractors,
agents, invitees, delivery trucks, vendors, distributors, employees or other person using
the Demised Premises with Tenant's consent, express or implied, or Tenant's failure to
perform any of its obligations under this Lease, then Landlord may, at its option, make
such repair and add the cost thereof to the first installment of Minimum Rent which shall
thereupon become due. Except as hereinbefore provided, Tenant covenants and agrees to
keep and maintain in good working order, condition and repair the Demised Premises and

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every part thereof, including fixtures and equipment therein, the exterior and interior
portions of all loading docks, drives leading to same, doors, door checks, security gates,
windows, glass, all Building systems, including plumbing and sewage facilities within the
Demised Premises (and the free flow of sewer lines therein) and all sprinkler, heating, air-
conditioning, ventilation, mechanical, electrical and lighting systems and all fixtUies,
interior walls, floors and ceilings. Tenant shall accomplish any and all repairs,
alterations, replacements and modifications at its own expense, using materials and labor
of kind and quality equal to the original work. As a material inducement to Landlord to
enter into this Lease and to accept Tenant's use of the Demised Premises as herein
permitted, Tenant covenants and agrees to and with Landlord that Tenant shall, at its sole
cost and expense, surrender the Demised Premises and all areas of the Industrial Center
subjected to Tenant's use (including without limitation, all drives and other paved
surfaces) at the expiration or earlier termination of this Lease in as good condition as
when received, excepting only deterioration caused by ordinary wear and tear or fire and
other casualty resulting in termination by Landlord as provided in Article XIV hereof.


               If any repairs required to be made by Tenant hereunder are not made within
twenty (20) days after written notice delivered to Tenant by Landlord, or if such repairs
are of a nature that they cannot be completed within twenty (20) days, then if Tenant,
within such twenty (20) day period has not commenced such repair or having commenced
such repairs, thereafter fails to diligently complete such repairs, then Landlord may, at its
option, make such repairs without liability to Tenant for any loss or damage which may
result to its inventory or business by reason of such repairs, and Tenant shall pay to
Landlord, as additional rent, upon demand, the reasonable cost of such repairs plus
interest from the date of payment by Landlord until repaid by Tenant.

               Except as provided herein, Landlord shall have no obligation to repair or
maintain the Demised Premises, or any part thereof, or any Building system therein,
including the plumbing, heating, electrical, air-conditioning or other mechanical in-
stallations therein.

       Section 10.2.   Alteration of Demised Premises. Except for the installation of
unattached moveable trade fixtures, which may only be installed without drilling, cutting
or otherwise defacing the Demised Premises, Tenant shall not make any alterations,
additions or improvements to the Demised Premises without the prior written consent of
Landlord.



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        Section 10.3.    Fixtures and Signs. Tenant shall not install or fix any sign,
device, fixture or attachment on or to the exterior or interior of the Demised Premises or
Building, nor place any vents, structure, building, improvement, sign or advertising
device or obstruction of any type or kind upon the Common Facilities or on or to the
exterior or interior of the Demised Premises, without first obtaining Landlord's written
consent. If Tenant shall do any of the foregoing acts in contravention of this provision,
then Landlord shall have the right to remove any such decoration, paint, alteration, sign,
device, fixture or attachment, etc., and restore the Demised Premises and/or the Common
Facilities to the condition thereof prior to such act, and the cost of such removal and
restoration shall be paid by Tenant as an additional charge. Any signage approved for
Tenant shall be installed, maintained and at the termination or expiration of this Lease
removed by Tenant at Tenant's sole cost, expense and risk.

              Throughout the term of this Lease, Landlord reserves the right to remodel
or renovate the Building facade and to require Tenant to replace, at its sole expense, its
existing signage once during the original term of this Lease to conform to Landlord's
common signage scheme for the Building as to sign size, location and material, but using
Tenant's standard logo and sign colors.

       Section 10.4.     Construction Standards. All construction work done by Tenant
within the Demised Premises shall be performed in compliance with Article V hereof.
Tenant shall, at Tenant's sole cost and expense, erect and install a temporary enclosure,
subject to Landlord's reasonable approval, which structure shall enclose all of the
Demised Premises during construction therein, and which enclosure shall meet all state
and local fire codes and Landlord's insurance standards.


       ARTICLE 11.          ENTRY, INSPECTION, POSTING AND DISPLAY

       Section 11.1.      Posting Notices.     Tenant shall permit Landlord and any
authorized representative of Landlord to enter the Demised Premises at all reasonable
times during business hours for any of the following purposes: serving or posting or
keeping posted thereon notices required by any law or which Landlord may reasonably
deem necessary or appropriate for the protection of Landlord or its interest; inspecting the
Demised Premises; inspecting the heating and air-conditioning service facilities and
sprinkler facilities; any other reason that may be necessary to comply with any laws, ordi-
nances, rules, regulations or requirements of any public authority or any applicable
standards that may from time to time be established by all carriers of insurance on the
Demised Premises, any Board of Underwriters, Rating Bureau or similar bodies or that

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Landlord may deem necessary to prevent waste, loss, damage, or deterioration to or in
connection with the Demised Premises. Nothing herein shall imply any duty upon the
part of Landlord to do any work which, under any provision of this Lease, Tenant may be
required to perform, and the performance thereof by Landlord shall not constitute a
waiver of Tenant's default in failing to perform the same. Landlord may, during the
progress of any work on the Demised Premises, keep and store upon the Demised
Premises all necessary materials, tools and equipment without the same constituting a
constructive eviction of Tenant in whole or in part, and the rents reserved shall not abate
while said work is in progress by reason of loss or interruption of Tenant's business or
otherwise. Landlord shall not in any event be liable for inconvenience, annoyance,
disturbance, loss of business or other damage of Tenant by reason of the performance of
any work on the Demised Premises, or on account of bringing materials, supplies and
equipment into or through the Demised Premises during the course of work on or in or
under the Demised Premises, and the obligations of the Tenant under this Lease shall not
thereby be affected in any manner whatsoever. However, Landlord, in connection with
the doing of any such work, shall cause as little inconvenience, annoyance, disturbance,
loss of business or other damage to Tenant as may reasonably be possible under the
circumstances and shall use all reasonable efforts to preserve vehicular and personnel
access to the Demised Premises.

       Section 11.2.    Entry to Demised Premises.      Landlord and any authorized
representative of Landlord may enter the Demised Premises at all reasonable times during
business hours for the purpose of exhibiting the same to prospective purchasers,
mortgagees, lessees and tenants and, during the final six (6) months of the Lease Term,
may exhibit the Demised Premises for hire.

       Section 11.3.     Landlord's Easement. Tenant hereby grants to Landlord such
licenses and easements in, over or under the Demised Premises or any portion or portions
thereof as shall be reasonably required for the installation or maintenance of mains,
conduits, pipes, ducts or other facilities to serve the Industrial Center, or any part thereof,
including, but not by way of limitation, the premises of any other tenant or occupant;
provided, however, that no exercise, occupancy under or enjoyment of any such license or
easement shall result in the permanent unreasonable interference with Tenant's use of the
Demised Premises as contemplated by this Lease.


             ARTICLE 12.        XII. LAWS AND INSURANCE STANDARDS



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       Section 12.1.     Tenant's Compliance With Laws and Insurance Standards. Tenant
shall, during the Lease Term and at Tenant's sole cost and expense, promptly comply in
every respect with the following: all codes, laws, ordinances, rules and regulations of all
federal, state, county and municipal governments, including without limitation, all
Environmental Laws (hereinafter defined) now in force or that may be enacted hereafter; all
requirements of the American with Disabilities Act of 1990, as the same may be hereafter
modified from time to time; all directions, rules and regulations of the fire marshal, health
officer, building inspector, zoning official and/or other proper officers of the governmental
agencies having jurisdiction over the Demised Premises; all carriers of insurance on the
Demised Premises, any Board of Underwriters, Rating Bureau and any similar bodies,
which are applicable to Tenant's use and occupancy of the Demised Premises. Tenant shall,
at Tenant's sole cost and expense, make all changes to the Demised Premises which are or
hereafter may be required in order to comply with the foregoing. Tenant expressly
covenants and agrees to indemnify and save Landlord harmless from any penalties,
damages or charges imposed for any violation of any and all laws, ordinances, rules or
regulations or violations of the covenants herein expressed, whether occasioned by Tenant
or any person upon the Demised Premises.

       Section 12.2.  Tenant's Use of Demised Premises Impaired. Tenant shall have
no claim against Landlord for any damages should Tenant's use and occupancy of the
Demised Premises for the purpose set forth in this Lease be prohibited or substantially
impaired by reason of any law, ordinance or regulation of federal, state, county or
municipal governments or by reason of any act of any legal or governmental or other
public authority.


     ARTICLE 13.        INDEMNIFICATION OF LANDLORD AND LIABILITY
                        INSURANCE

       Section 13.1.     Tenant Indemnity. Tenant hereby indemnifies and agrees to
defend and hold Landlord and its managing agents and its and.their respective members,
partners, affiliates, principals, shareholders, officers, directors, members, trustees,
fiduciaries, servants, agents and employees free and harmless from and against all suits,
causes, actions, damages, liabilities, penalties, costs, charges, fees and expenses,
including without limitation, attorneys' fees and disbursements, in connection with a
breach by Tenant under this Lease or with loss of life, personal injury or property damage
arising from or out of any occurrence in, upon, at or from the Demised Premises or the
occupancy or use by Tenant of the Demised Premises or occasioned wholly or in part by
any act or omission by Tenant, its agents, contractors, employees, servants, invitees,
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licensees or concessionaires, whether or not occurring or resulting in damage or injury
within the Demised Premises or upon the Common Facilities and whether or not any such
act or omission constitutes a violation of law or this Lease; Tenant shall store its property
in and shall occupy the Demised Premises and all other portions of the Industrial Center
at its own risk; Landlord shall not be responsible or liable at any time for any loss or
damage to Tenant's merchandise, equipment, fixtures or other personal property of Tenant
or to Tenant's business; Landlord shall not be responsible or liable to Tenant, or to those
claiming by, through or under Tenant, for any loss or damage to either the person or
property of Tenant, or of those claiming by, through or under Tenant, that may be
occasioned by or through the acts or omissions of persons occupying adjacent, connecting
or adjoining premises; Landlord shall not be responsible or liable for any defect, latent or
otherwise, in any building in the Industrial Center or in any of the equipment, machinery,
utilities, appliances or apparatus therein; Landlord shall not be responsible or liable for
any injury, loss or damage to any person or to any property of Tenant or other person
caused by or resulting from bursting, breakage or leakage, steam or snow or ice, running,
backing up, seepage, or the overflow of water or sewage in any part of the Industrial
Center or for any injury or damage caused by or resulting from any defect or negligence
in the occupancy, construction or use of any building in the Industrial Center, or
machinery, apparatus or equipment therein or thereon; or by or from the acts of
negligence of any occupant of the Industrial Center building. Providing Tenant has
knowledge of same, Tenant shall give prompt notice to Landlord in case of fire or
accidents in the Demised Premises or in the building of which the Demised Premises are a
part and of defects therein or in any fixtures or equipment. Landlord shall in no event be
liable for any damages arising from any act, omission or negligence of any other tenant at
the Industrial Center. In case Landlord shall be made a party to any litigation commenced
by or against Tenant, Tenant shall protect and hold Landlord harmless and shall pay all
reasonable costs, expenses and attorney's fees in connection therewith. The obligations of
Tenant under this Section shall survive the terniination of this Lease.

      Section 13.2.     Tenant Liability Insurance. Tenant shall at all times during the
Lease Term maintain in full force and effect the following insurance in standard form
generally in use in the state in which the Industrial Center is located with insurance
companies with an AM Best rating of A or better (or a comparable rating in the event that
the AM Best rating is no longer published) and authorized to do business in said state:

              (a)    Commercial general liability insurance in the amount of at least Five
Million Dollars ($5,000,000) per any occurrence resulting in bodily injury, personal injury
or property damage. The pollution exclusion in the liability policy has been amended and
shall not apply if the discharge, release or escape of pollutants is the direct result of a

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           sudden and accidental occurrence involving the operation or use of a covered vehicle; or
           if the pollutants are goods of others which are legally in transit and physically in the
           possession of Tenant at the time of the discharge, dispersal, release or escape but only if
           they have not been in Tenant's physical possession for more than 30 days prior to the
           discharge, dispersal, release or escape.

                          (b)    Commercial Automobile Insurance covering all owned, non-owned
           and hired automobiles of Tenant including the loading and unloading of any automobile,
           truck or other vehicle with limits of liability not less than $5,000,000 combined single
           limit for bodily injury liability and property damage liability.

                            (c)    Tenant further agrees that any contractor Tenant hires to perform any
              alterations to the Demised Premises shall furnish Tenant with certificates showing
+ \ 000 01:lO evidence of comprehensive public liability and damage insurance in the amount of at least
l> ~
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          - $3,000,000 plus required workmen's compensation and employer's liability insurance
              coverage to the extent required by law.

                          The insurance and certificates required in subsections (a) through (c) above
           shall name Landlord, as an additional insured for the full amount of the insurance herein
           required. With respect to each and every policy of such insurance and each renewal
           thereof, Tenant, at the beginning of the Lease Term and thereafter not less than thirty (30)
           days prior to the expiration of any such policy, shall furnish Landlord with a certificate of
           insurance executed by the insurer involved which shall contain, in addition to matters
           customarily set forth in such a certificate under standard insurance industry practices, an
           undertaking by the broker to give Landlord ten (10) days' prior written notice of
           cancellations, nonrenewal or change in scope or amount of coverage of such policy.
           Tenant shall, at all times, maintain worker's compensation insurance to comply with the
           applicable laws of the state in which the Industdal Center is located.

                    Section 13.3.    Landlord Indemnity.     Landlord hereby indemnifies and agrees
           to defend and hold Tenant and its and their members, partners, affiliates, principals,
           shareholders, officers, directors, members, trustees, fiduciaries, servants, agents and
           employees free and harmless from and against all suits, causes, actions, damages,
           liabilities, penalties, costs, charges, fees and expenses, including without limitation,
           attorneys' fees and disbursements, in connection with a breach by Landlord under this
           Lease or with loss of life, personal injury or property damage arising from or out of all
           acts, failures, omissions or negligence of Landlord, its agents, employees or contractors
           in, upon, at or from the Common Facilities. The obligations of Landlord under this
           Section shall survive the termination of this Lease.

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       Section 13.4.     Landlord Liability Insurance. During the term of the lease,
Landlord, at its own expense, shall maintain comprehensive general public liability
insurance against any claims upon Landlord arising from the ownership, operation or
control of the Industrial Center with respect to bodily injury, death, property damage or
other risks of similar nature with combined limits as Landlord deems appropriate, but in
no event less than FIVE MILLION and 00/100 ($5,000,000) DOLLARS per occurrence.


  ARTICLE 14.          XIV. FIRE INSURANCE, DAMAGE AND DESTRUCTION

       Section 14.1.     Landlord Insurance. At all times during the Lease Tenn, Land-
lord shall maintain in effect with a responsible insurance company or companies with an
AM Best rating of A or better (or a comparable rating in the event that the AM Best rating
is no longer published), policies of insurance covering the building of which the Demised
Premises constitute a part, providing protection to the extent of not less than the full
replacement cost of the building against all casualties included under standard insurance
industry practices within the classification "All Risk". Nothing in this Section shall
prevent the taking out of policies of blanket insurance, which may cover real and/or
personal property and improvements in addition to the building of which the Demised
Premises constitutes a part; provided, however, that in all other respects each such policy
shall comply with the other provisions of this Section 14.1. Upon the termination of
Tenant's insurance provided for in Section 14.2(c), Tenant's Work shall be included in
Landlord's insurance as provided for in Section 14.1.

       Section 14.2.   Tenant Insurance. At all times during the Lease Tenn, Tenant
shall pay all premiums for and maintain in effect, with a responsible insurance company
or companies with an AM Best rating of A or better (or a comparable rating in the event
that the AM Best rating is no longer published) licensed to do business within the state in
which the Industrial Center is located, policies of insurance for the benefit of Tenant, as
follows:

              (a)   Insurance covering Tenant's trade fixtures, furniture, furnishings,
equipment and other installations of Tenant not otherwise covered under Landlord's
insurance coverage as described in Section 14.1 above, providing protection to the extent
of not less than the full replacement cost thereof against all casualties included under
standard insurance industry practices within the classification "All Risk" and insurance
covering sprinkler leakage, unless Tenant's insurance otherwise includes sprinkler
leakage coverage.


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              (b)   Plate glass insurance covering the plate glass in the Demised
Premises; provided, however, Tenant may satisfy this requirement by self-insuring and in
the event of damage or destruction to said plate glass immediately replacing same.

              (c)    Insurance covering the full replacement cost of any Tenant's Work
against all casualties included under standard insurance industry practices within the
classification "All Risk" which insurance shall be maintained, and under no
circumstances terminated by Tenant, until Landlord has included such Tenant's Work
under Landlord's insurance as provided for in Section 14.1 and has given Tenant notice
thereof.

              Tenant will furnish to Landlord, within five (5) days after Tenant receives
notice of Landlord's intention to deliver possession of the Demised Premises and prior to
Tenant entering on the Demised Premises, certificates of insurance evidencing coverages
required by this Lease. All policies required hereunder shall contain an endorsement
providing that the insurer will not cancel, fail to renew or materially change the coverage
of said policy or policies without first giving ten (10) days' prior written notice thereof to
the Landlord.

              Landlord and Tenant hereby grant to each other on behalf of any insurer
providing the insurance to either of them described in Sections 14.l and 14.2 covering the
Demised Premises, improvements therein or contents thereof a waiver of any right of
subrogation any such insurer of one party may acquire against the other by virtue of
payment of any loss under such insurance. Such waivers shall stand mutually terminated
as of the date either Landlord or Tenant ceases to be so empowered to grant such
subrogation on behalf of any such insurer.

        Section 14.3.      Landlord Repair. If the Demised Premises shall be partially
damaged by any fire or casualty covered under the Landlord's insurance policy pursuant
to Section 14.1, Landlord shall, upon receipt of the insurance proceeds, repair the same;
provided, however, the obligation of Landlord to restore the Demised Premises as herein
provided shall be limited to such restoration as can be financed by such insurance
proceeds as shall actually be received by Landlord, free and clear from collection by any
mortgagees and after deducting the cost and expense, if any, including attorneys' fees of
settling with the insurer.

        Section 14.4.   Lease Termination. If the Demised Premises (a) by reason of a
loss are rendered untenantable or (b) should be damaged as a result of a risk which is not
covered by Landlord's insurance or (c) should be damaged in whole or in part during the

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last three (3) years of the Lease Tenn or any renewal term thereof or (d) if any or all of
the buildings or Common Facilities of the Industrial Center are damaged, whether or not
the Demised Premises are damaged, to such an extent that the Industrial Center cannot, in
the reasonable judgment of Landlord, be operated as an integral unit, then, or in any such
event, Landiord may either elect to repair the damage or may cancel this Lease. Landlord
shall give the Tenant written notice of its election to terminate or to continue the Lease
within ninety (90) days after such event. In the event of termination, this Lease shall
expire at the end of the calendar month in which such notice of termination is given and
Tenant shall vacate and surrender the Demised Premises to the Landlord. In the event of
notice by Landlord that Landlord has elected to continue this Lease, Landlord and Tenant
shall commence their respective obligations for repair as soon as is reasonably possible
and prosecute the same to completion with all due diligence.

       Section 14.5.     Rent Abatement. The Minimum Rent shall be abated propor-
tionately with the degree in which Tenant's use of the Demised Premises is impaired
during the period of any damage, repair or restoration provided for in this Article XIV;
provided that in the event Landlord elects to repair the damage insurable under Landlord's
policies, any abatement of rent shall end five (5) days after notice by Landlord to Tenant
that the Demised Premises have been repaired. Tenant shall continue the operation of its
business on the Demised Premises during any such period to the extent reasonably
practicable from the standpoint of prudent business management. Except for the
abatement of Minimum Rent hereinabove provided, Tenant shall not be entitled to any
compensation or damage for loss in the use of the whole or any part of the Demised
Premises and/or any inconvenience or annoyance occasioned by any damage, destruction,
repair or restoration.

        Section 14.6.    Tenant Repairs. Unless this Lease is terminated by Landlord, .
Tenant shall repair, restore and refixture all parts of the Demised Premises not insured
under Landlord's insurance policy in a manner and to a condition equal to that existing
prior to its destruction or casualty, including, but not by way of limitation, all exterior
signs, trade fixtures, equipment, display cases, furniture, furnishings and other
installations of personalty of Tenant. The proceeds of all insurance carried by Tenant on
its property and improvements shall be held in trust by Tenant for the purpose of said
repair and replacement.




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                        ARTICLE 15.          EMINENT DOMAIN

      Section 15.1.      Entire Taking. In the event that the whole of the Demised
Premises shall be taken under the power of eminent domain, this Lease shall thereupon
terminate as of the date possession shall be so taken.

       Section 15.2.     Partial Taking Other than Demised Premises. If more than ten
percent (10%) of the floor area of the Building in which the Demised Premises is located,
whether or not any portion of the Demised Premises is included therein, is taken as
aforesaid, then Landlord may, by written notice to Tenant, terminate this Lease, such
termination to be effective as of the date possession shall be so taken.

       Section 15.3.      Partial Taking Demised Premises. In the event that a portion of
the Floor Area shall be taken under the power of eminent domain and the portion not so
taken will not, in the reasonable business judgment of both Landlord and Tenant, be
suitable for the operation of Tenant's business notwithstanding Landlord's performance of
restoration as hereinafter set out in this Section, this Lease shall thereupon terminate as of
the date possession of said portion is taken. In the event of any taking under the power of
eminent domain which is not sufficiently extensive to render the Demised Premises
unsuitable for the business of the Tenant, the provisions of this Lease shall remain in full
force and effect, except that the Minimum Rent shall be reduced in the same proportion
that the amount of Floor Area taken bears to the original total Floor Area immediately
prior to such taking, and Landlord shall, upon receipt of the award in condemnation,
make all necessary repairs or alterations to the building in which the Demised Premises
are located so as to constitute the portion of the building not taken a complete
architectural unit, but Landlord shall not be required to spend for such work an amount in
excess of the amount received by Landlord as damages for the part of the Demised
Premises so taken. "Amount received by Lanqlord" shall mean that part of the award in
condemnation which is free and clear to Landlord of any collection by mortgagees for the
value of the diminished fee, and after payment of all costs involved in collection
including but not limited to attorneys fees. Tenant, at its own cost and expense, shall, with
respect to all exterior signs, trade fixtures, equipment, display cases, furniture, furnishings
and other installations of personality of Tenant, restore such part of the Demised Premises
as is not taken to as near its former condition as the circumstances will permit.

       Section 15.4.     Condemnation Award. In the event the Demised Premises or any
part thereof shall be taken or condemned either permanently or temporarily for any public
or quasipublic use or purpose by any competent authority in appropriate proceedings or
by any right of eminent domain, the entire compensation award for both leasehold and

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reversion shall belong to the Landlord without any deduction therefrom for any present or
future estate of Tenant, and Tenant hereby expressly waives any claim and assigns to
Landlord all its right, title and interest to any such award. However, Tenant shall be
entitled to claim in such condemnation proceedings such award as may be allowed for
relocation costs, fixtures and other equipment installed by it, but only to the extent that
the same shall not reduce Landlord's award and only if such award shall be in addition to
the award for the land and building (or portion thereof) containing the Demised Premises.
 To the extent that the Tenant has a claim in condemnation proceedings, as aforesaid,
Tenant may claim for condemnors, but not from Landlord, such compensation as may be
recoverable by Tenant.

       Section 15.5.     Rent Proration. If the Lease is terminated as provided in this
Article XV, all rent and other charges shall be paid up to the date that possession is taken
by public authority, and Landlord shall make refund of any rent and other charges paid by
Tenant in advance and not yet earned.

       Section 15.6.    Temporary Taking. Notwithstanding anything to the contrary in
the foregoing provisions of this Article XV, the requisitioning of the Demised Premises
or any part thereof by military or other public authority for purposes arising out of a
temporary emergency or other temporary situation shall constitute a taking of the
Demised Premises by eminent domain only when the use and occupancy by the
requisitioning authority has continued for one hundred eighty (180) consecutive days.
During such one hundred eighty (180) day period, and if this Lease is not terminated
under the foregoing provisions of this Article XV, then for the duration of the use and
occupancy of the Demised Premises by the requisitioning authority, any obligation of
Tenant under this Lease to pay rent based on a Percentage Rent and all of the other
provisions of this Lease shall remain in full force and effect, except that the Minimum
Rent shall be reduced in the same proportion that the amount of the Floor Area
requisitioned bears to the total Floor Area, and Landlord shall be entitled to whatever
compensation may be payable from the requisitioning authority.

       ARTICLE 16.         FINANCIAL INFORMATION; STATEMENT OF
                         TENANT;AMENDMENT TO LEASE

       Section 16.1.      Delivery oflnformation. Tenant shall, at any time and from time
to time within twenty (20) days of written request by Landlord, deliver to Landlord any
and all of the following:



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              (a)    Such financial information concerning Tenant and Tenant's business
operations as may reasonably be requested by a mortgagee or prospective mortgagee or
purchaser of the Industrial Center or any part thereof.

               (b)    An executed and acknowledged written declaration in recordable
form, prepared by Landlord: (1) ratifying this Lease; (2) expressing the commencement
and termination dates hereof; (3) certifying that this Lease is in full force and effect and
has not been assigned, modified, supplemented or amended (except by such writings as
shall be stated and attached); (4) certifying that, to the extent of Tenant's knowledge, and
if the same be true, that all conditions under this Lease to be performed by Landlord have
been satisfied; (5) certifying that there are no known defenses or offsets against the
enforcement of this Lease by the Landlord, or stating those claimed by Tenant; (6) stating
the amount of advance rental if any (or none if such is the case), paid by Tenant; and (7)
stating the date to which rental has b_een paid.

              (c)    An executed and acknowledged instrument, prepared by Landlord,
amending this Lease in such respects as may be required by any mortgagee or prospective
mortgagee, provided that any such amendment shall not materially alter or impair any of
the rights and remedies of Tenant under this Lease or increase Tenant's financial
obligations under this Lease.

              (d)    Use of Information. Any financial information delivered pursuant to
Section 16.l(a) and any statement delivered pursuant to Section 16.l(b) may be relied
upon by any mortgagee or prospective mortgagee or purchaser; provided, however, that
any such financial information and any such statement shall be utilized only for bona fide
business reasons related to such mortgage or purchase.


 ARTICLE 17.          ASSIGNMENT, SUBLETTING AND HYPOTHECATION OF
                                   LEASE

       Section 17.1.     Assignment and Subletting. Except as herein provided, Tenant
shall not, and shall not have the power to, transfer, assign, sublet, enter into license or
concession agreements, change ownership, mortgage or hypothecate this Lease or
Tenant's interest in and to the Demised Premises without first procuring the written
consent of Landlord, which consent shall not be unreasonably withheld. Any attempted
or purported transfer, assignment, subletting, license or concession agreement, change of
ownership, mortgage or hypothecation without Landlord's written consent pursuant to this
Section 17 .1 or Section 17 .2 shall be void and confer no rights upon any third person.

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The consent by Landlord to any assignment or subletting shall not constitute a waiver of
the necessity for such consent to any subsequent assignment or subletting. If this Lease
be assigned or if the Demised Premises or any part thereof be occupied by anybody other
than Tenant, Landlord may collect rent from the assignee, or occupant and apply the net
amount collected to the rent reserved, but no such assignment, underletting, occupancy or
collection shall be deemed a waiver of this provision or the acceptance of the assignee,
undertenant or occupant as Tenant. Nothing herein contained shall relieve Tenant or any
Guarantor from its covenants and obligations for the term of this Lease. Tenant agrees to
reimburse Landlord for Landlord's reasonable attorney's fees incurred in conjunction with
the processing and documentation of any such requested transfer, assignment, subletting,
license or concession agreement, change of ownership, mortgage or hypothecation of this
Lease or Tenant's interest in and to the Demised Premises.

       Section 17.2.     Documentation Required. Each transfer, assignment, subletting,
license, concession agreement, mortgage or hypothecation to which there has been
consent shall be by an instrument in writing in form reasonably satisfactory to Landlord,
and shall be executed by the transferor, assignor, sublessor, licensor, concessionaire,
hypothecator or mortgagor and the transferee, assignee, sublessee, licensee,
concessionaire or mortgagee in each instance, as the case may be; and each transferee,
assignee, sublessee, licensee, concessionaire or mortgagee shall agree in writing for the
benefit of Landlord herein to assume, to be bound by, and to perform the terms, covenants
and conditions of this Lease to be done, kept and performed by Tenant, including the
payment of all amounts due or to become due under this Lease directly to Landlord.
Failure to first obtain in writing Landlord's consent or failure to comply with the
provisions of this Section shall operate to prevent any such transfer, assignment,
subletting, license, concession agreement or hypothecation from becoming effective.

       Section 17.3.      Voting Control. In the event the Tenant is a corporation, any
dissolution, merger, consolidation or other reorganization of such corporation or the sale
or other transfer ·of a controlling percentage of the corporate stock of Tenant shall
constitute an assignment of this Lease for all purposes of this Article XVII; provided,
however, that any transfer by inheritance or by any transaction in Tenant's stock or the
stock of a corporation owning or controlling a majority of Tenant's stock which occurs on
a major security exchange shall not be considered an assignment hereunder. If an
assignment is made as aforesaid, then Tenant shall so notify Landlord and Landlord shall
have the right, at its option, to terminate this Lease upon ten (10) days' notice to Tenant.
The term "controlling percentage", for the purpose of this Article XVII, means the
ownership of stock possessing, and of the right to exercise voting power of all classes of
stock of such corporation issued, outstanding and entitled to vote for the election of direc-

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tors, whether such ownership be direct or indirect ownership through ownership of stock
possessing, and of the right to exercise, at least fifty-one percent ( 51 %) of the total
combined voting power of all classes of stock of another corporation or corporations.


               In the event Tenant is a partnership or entity other than a corporation, any
dissolution, merger, consolidation or other reorganization of such partnership or entity or
the sale or transfer of a controlling percentage of such partnership or entity shall
constitute an assignment of this Lease for all purposes of this Article XVII; provided,
however, that any transfer by inheritance shall not be considered an assignment
hereunder. If an assignment is made as aforesaid, then Tenant shall notify Landlord and
Landlord shall have the right, at its option, to terminate this Lease upon ten (10) days'
notice to Tenant. The term "controlling percentage," for the purpose of this Article XVII
means the ownership of, and the right to exercise, at least fifty-one percent ( 51 %) of the
total combined voting rights of said partnership or entity, whether such ownership be
direct or indirect.

       Section 17.4.    Tenant Includes Approved Assignees and Subtenants.           In the
event that Landlord shall agree to any transfer of Tenant's interest in this Lease, then the
term "Tenant" shall thereafter be deemed to include, without further reference, the party
to whom such interest is transferred, which is, for example, but without limiting the
generality thereof, any subtenant, assignee, concessionaire or licensee. If the Lease be
assigned or if the Demised Premises or any part thereof be occupied by anybody other
than Tenant, then Landlord may collect rent from the assignee or occupant and apply the
net amount collected to the rent herein reserved, but no such assignment, subletting,
occupancy or collection shall be deemed a waiver of this provision or the acceptance of
the assignee, subtenant or occupant as Tenant or as a release of Tenant from the further
performance of the provisions on its part· to be observed or performed herein.
Notwithstanding any assignment or sublease, Tenant shall remain fully liable and shall
not be released from performing any of the terms of this Lease.

       Section 17.5.     Tenant Include Successors. All rights, obligations and liabilities
herein given to, or imposed upon, the respective parties hereto shall extend to and bind
the several and respective heirs, · executors, administrators, successors, subtenants,
licensees, concessionaires and assigns of the named Tenant herein, except as expressly
provided in this Article; and if there shall be more than one Tenant they shall all be bound
jointly and severally by the terms, covenants, conditions and agreements herein and the
word "Tenant" shall be deemed and taken to mean each and every person or party
mentioned as a Tenant herein, be the same one or more; and if there shall be more than

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one Tenant, any notice required or permitted by the terms of this Lease may be given by
or to any one thereof. No rights, however, shall inure to the benefit of any assignee of
Tenant unless the assignment to such assignee has been approved by Landlord in writing
as aforesaid. The use of the neuter singular pronoun to refer to Landlord or Tenant shall
be deemed a proper reference even though Landlord or Tenant may be an individual, a
partnership, a corporation, a group of two or more individuals or corporations. The
necessary grammatical changes required to make the provisions of this Lease apply in the
plural sense where there is more than one Landlord or Tenant and to either corporations,
associations, partnerships, or individuals, males or females, shall in all instances be
assumed as though in each case fully expressed.

        Section 17.6.     Recapture. Notwithstanding anything to the contrary contained
in this Article XVII, if Tenant wishes to assign this Lease or to sublease all or any part of
the Demised Premises, Tenant shall give Landlord written notice of its intention as
aforesaid, and Landlord shall have the right upon receipt of such notice to terminate this
Lease within ninety (90) days after Landlord's receipt of Tenant's notice. Landlord shall
give notice to Tenant of Landlord's election to terminate this Lease which termination
shall become effective sixty (60) days after the date the termination notice is forwarded to
Tenant; and, upon such termination, all of the liabilities of the parties each to the other
shall cease and terminate except such covenants of Tenant which survive the termination
of this Lease. If Landlord does not terminate this Lease, as aforesaid, Landlord's consent
to the proposed transaction shall not be unreasonably withheld.

        Section 17.7.    Successor to Landlord Interest. The term "Landlord," as used in
this Lease, so far as covenants, conditions and agreements on the part of the said
Landlord are concerned, shall be limited to mean the party executing this Lease as
Landlord, its successors and assigns, and in the event of any transfer or transfers of the
interest of Landlord in the Industrial Center; the said Landlord (and in case of any
subsequent transfers or conveyances, the then grantor) shall be automatically freed and
relieved from and after the date of such transfer or conveyance of all liability as respects
the performance of any covenants, conditions and agreements on the part of said Landlord
contained in this Lease thereafter to be performed, provided that any amount then due and
payable to Tenant by Landlord, or the then grantor, under any provisions of this Lease,
shall be paid to Tenant. It being intended by Landlord and Tenant that the covenants,
conditions and agreements contained in this Lease on the part of the Landlord shall,
subject as aforesaid, be binding on Landlord, its successors and assigns, only during and
in respect of their respective successive periods of ownership. Further, Landlord's
liability under this Lease shall be limited to and include only the interest of Landlord in
the Industrial Center.

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       Section 17.8.     Transfer Premium. If Landlord consents to any assignment of
this Lease, or subletting of the Demised Premises or parts thereof (a "Transfer") then, as a
condition thereto which the parties hereby agree is reasonable, Tenant shall pay Landlord
fifty percent (50%) of any Transfer Premium to be received by Tenant from such
Transfer. "Transfer Premium" shall mean all rent, additional rent or other consideration
payable by any transferee in excess of the Minimum Rent and Insurance Premium and
Common Facility Charges payable by Tenant under this Lease (on a monthly basis during
the Term, and prorated on a per rentable square foot basis, if less than all of the Demised
Premises is transferred), after amortizing in equal monthly installments of the period of
the Transfer the reasonable expenses incurred by Tenant for any brokerage commissions
in connection with the Transfer. If part of the consideration for such Transfer shall be
payable other than in cash, Landlord's share of such non-cash consideration shall be in the
form as is reasonably satisfactory to Landlord. Such percentage of the Transfer Premium
shall be paid promptly by Tenant upon Tenant's receipt from time to time of periodic
payments from such transferee or such other time as Tenant shall realize a Transfer
Premium from such transferee. In lieu of accepting such percentage of the Transfer
Premium, Landlord may elect in writing within ninety (90) days after Tenant's notice, to
increase the monthly Minimum Rent hereunder during the Term of the Transfer by an
amount equal to Landlord's share of such Transfer Premium.


                  ARTICLE 18.          INTENTIONALLY DELETED


ARTICLE 19.          OWNERSHIP OF CERTAIN PROPERTY AND SURRENDER
                              OF PREMISES

        Section 19.1.    Ownership Of Property. Upon termination of this Lease, Tenant
shall surrender to Landlord the Demised Premises, including, without limitation, all
buildings, carpeting, additions, alterations, improvements, apparatus and fixtures, except
unattached moveable fixtures and furniture installed by Tenant, in good condition and
repair, as aforesaid in Section 10.1 hereof; provided, however, that Tenant, upon written
approval by Landlord, which approval shall not be unreasonably withheld, may be
permitted to remove such other alterations, additions, improvements and fixtures installed
by Tenant and restore the Demised Premises to their original condition at Tenant's
expense.




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                   ARTICLE 20.          HOLDOVER BY TENANT

       Section 20.1.     Rent In The Event Of Holdover. In the event that Tenant shall
hold the Demised Premises after the expiration of the Lease Term without the express
written consent of the Landlord, such holding shall be deemed to have created a tenancy
from month to month terminable on thirty (30) days' written notice by either party to the
other, upon a monthly rental basis, and otherwise subject to all terms and provisions of
this Article XX. Such monthly rental shall be computed on the basis of one-sixth (I/6th)
of the total rental payable by Tenant to Landlord during the last twelve (12) month period
of the Lease Term, including, but not limited to Minimum Rent and all other additional
charges provided by this Lease.

       Section 20.2.     Liability In The Event Of Holdover.  If the Tenant fails to
surrender the Demised Premises upon the termination of this Lease, then Tenant shall, in
addition to any other liabilities to Landlord accruing therefrom, indemnify and hold
Landlord harmless from loss or liability resulting from such failure, including, without
limiting the generality of the foregoing, any claims made by any succeeding tenant
founded on such failure.


                ARTICLE 21.         ADDITIONAL CONSTRUCTION

       Section 21.1.    Construction By Landlord. Landlord hereby reserves the right, at
any time and from time to time, providing reasonable access to the Demised Premises is
not materially and adversely affected, to make alterations or additions to the Industrial
Center, to build additional stories on the building in which the Demised Premises are
contained and to build adjoining same and to construct other or add to other buildings or
improvements in the Industrial Center; provi.ded, however, that such construction or
additions shall not unreasonably interfere with Tenant's use of the Demised Premises as
permitted hereunder, except when such work is necessitated by emergency or required by
structural need.

       Section 21.2.   Excavation. If an excavation shall be made upon land adjacent to
the Demised Premises, then, Tenant shall permit the person authorized to cause such
excavation license to enter upon the Demised Premises for the purpose of doing such
work as such person deems necessary to preserve the wall or the building of which the
Demised Premises form a part from damage and to support the same by proper
foundations and Tenant shall not be entitled to any claim for damages or indemnification


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against Landlord nor shall Tenant be entitled to an abatement of rent. All reasonable
efforts shall be taken.to preserve vehicular and personnel access during any such work.


                           ARTICLE 22.           XXII. DEFAULT

        Section 22.1.    Notice; Remedies. If after ten (10) days' written notice, Tenant
fails to pay any Minimum or Additional Rent ("Rent") or make any other payment due
hereunder when due or fails to cure any breach of this Lease which is monetary in nature,
or if Tenant vacates or abandons the Demised Premises, or if Tenant creates a hazardous
condition at the Demised Premises which is not immediately cured upon Tenant's
becoming aware thereof, or if after thirty (30) days' written notice, Tenant fails to perform
any other of the terms, conditions or provisions of this Lease to be observed or performed
by Tenant (provided that if such other term, condition or provision is non-monetary in
nature and cannot be reasonably performed within thirty (30) days, Tenant shall have
ninety (90) days following Landlord's initial written notice of default to effect the cure if
Tenant immediately commences such cure and diligently pursues the same to completion)
then, in any one or more of such events (sometimes hereinafter referred to as an "event of
default"), this Lease shall, at the option of Landlord, terminate and come to an end on the
date specified in a notice of cancellation from Landlord to Tenant, and Tenant shall quit
and surrender the Demised Premises to the Landlord as if the term hereunder ended by the
expiration of the time fixed herein, but Tenant shall remain liable for all sums accruing
prior to the termination of this Lease. Tenant shall not be entitled to any written notice of
default from Landlord regarding any default by Tenant repeated more than twice in any
given Lease Year.


               If an event of default occurs and Landlord elects not to terminate this Lease,
then (a) Landlord shall have the immediate right, pursuant to legal process, if any be
applicable, to either pay any sums or do any act on behalf of Tenant, in order to cure a
default by Tenant, and any sums expended by Landlord, together with interest thereon at
the highest rate permitted by the laws of the state in which the Industrial Center is located
(and if there is no such rate, then interest shall be at the rate equal to three percent (3 % ) in
excess of the prime rate of JP Morgan Chase Bank or any successor thereto) shall be
immediately due and payable by Tenant to Landlord, or (b) Landlord may, pursuant to
legal process, if any be applicable, re-enter the Demised Premises and Landlord may
remove all persons and property from the Demised Premises and such property may be
removed and stored in a public warehouse or elsewhere at the cost of, and for the account
of, Tenant without Landlord being deemed guilty of trespass or becoming liable for any

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loss or damage which may be occasioned thereby.

               Should Landlord elect to re-enter or should it take possession pursuant to
legal proceedings or pursuant to any notice provided for by law, it may make such
alterations and repairs as may be necessary in order to relet the Demised Premises or any
part thereof, for such term or terms (which may be for a term extending beyond the Lease
Term) and at such rentals and upon such other terms and conditions as Landlord in its
sole discretion may deem advisable and upon each such reletting all rentals received by
Landlord from such reletting shall be applied first, to the payment of any indebtedness
other than Rent due hereunder from Tenant to Landlord, second, to the payment of the
cost of any such alterations and repairs, third, to the payment of Rent due and unpaid
hereunder, and any amount remaining shall be held by Landlord and applied in payment
of future Rent as the same may become due and payable hereunder. If such rentals
received from such reletting during any month be less than the Rent to be paid during that
month by Tenant hereunder, then Tenant shall pay any such deficiency to Landlord. Such
deficiency shall be calculated and paid monthly. Landlord may recover from Tenant,
from time to time, all damages it may incur by reason of Tenant's default, including the
cost of recovering the Demised Premises, reasonable attorneys' fees and the worth, at the
time of such termination, of the excess, if any, of the amount of Rent and charges
equivalent to rent reserved in this Lease for the remainder of the Lease Term over the
then reasonable rental value of the Demised Premises for the remainder of the stated term,
all of which amount shall be immediately due and payable from Tenant to Landlord.

              The parties hereby waive trial by jury in any action, proceeding or
counterclaim brought by either of the parties hereto against the other on any matters
whatsoever arising out of or in any way connected with this Lease, the relationship of
Landlord and Tenant, Tenant's use or occupancy of the Demised Premises and/or any
claim of injury or damage. In the event Landlord commences any proceedings for
nonpayment of Minimum Rent or any other charge due hereunder, Tenant will not
interpose any counterclaim, except compulsory counterclaims, of whatever nature or
description in any such proceedings. This shall not, however, be construed as a waiver of
Tenant's right to assert such claims in any separate action brought by Tenant.

              Tenant hereby expressly waives any and all rights of redemption granted by
or under present or future laws in the event of Tenant being evicted or dispossessed for
any cause or in the event of Landlord obtaining possession of the Demised Premises by
reason of the violation by Tenant of any of the provisions of this Lease or otherwise.


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              In the event of a breach or threatened breach by Tenant of any provision of
this Lease, Landlord shall have the right of injunction as if other remedies were not
provided for herein.

              The rights and remedies given to Landlord in this Lease are distinct,
separate and cumulative remedies, and the exercise of any of them shall not be deemed to
exclude Landlord's right to exercise any or all of the others or those which may be
permitted by law.

              Tenant expressly waives any right of defense which it may have to claim a
merger and neither the commencement of any action or proceeding nor the settlement
thereof or entering of judgment therein shall bar Landlord from bringing subsequent
actions or proceedings from time to time.

              In the event of any action taken by Landlord to enforce or interpret, or to
pursue its rights or remedies under, this Lease against Tenant, whether or not suit be
brought, Tenant shall be responsible for and shall pay upon demand by Landlord all of
Landlord's costs and expenses paid or incurred in connection therewith, including without
limitation, Landlord's attorneys' fees and disbursements.

       Section 22.2.   Notice to Landlord. Landlord shall in no event be in default in
the performance of any of its obligations in this Lease contained unless and until
Landlord shall have failed to perform such obligation within thirty (30) days, or such
additional time as is reasonably required to correct any such default, after notice by
Tenant to Landlord properly specifying wherein Landlord has failed to perform any such
obligation.

        Section 22.3.     Force Majeure. Landlord and/or Tenant shall be excused for the
period of any delay and shall not be deemed in default with respect to the performance of
any of the terms, covenants and conditions of this Lease, except for the payment of
monetary obligations, when prevented from so doing by cause or causes beyond the
Landlord's control or Tenant's control, as the case may be, which shall include, without
limitation, all labor disputes, governmental regulations or controls, fire or other casualty,
inability to obtain any material or services, or reasonable substitute for said materials or
services, acts of God or any other cause, whether similar or dissimilar to the foregoing,
not within the reasonable control of the Landlord and/or Tenant.

      Section 22.4.   Bankruptcy. To the full extent permissible under the Bankruptcy
Reform Act of 1978, specifically Section 365 thereof (11 U.S.C. 365) or any successor

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thereto, if Tenant shall file a voluntary petition in bankruptcy or take the benefit of any
insolvency act or be dissolved or adjudicated a bankrupt, or if a receiver shall be
appointed for its business or its assets and the appointment of such receiver is not vacated
within sixty (60) days after such appointment, or if it shall make an assignment for the
benefit of its creditors, then and forthwith thereafter Landlord shall have all of the rights
provided in Section 22.1, in the event of nonpayment of rent.


                        ARTICLE 23.          XXIII. NO WAIVER

       Section 23.1.      No Waiver Except In Writing. Failure of Landlord or Tenant to
insist upon the strict performance of any provisions hereof or of any rules and regulations
promulgated hereunder or to exercise any option shall not be construed as a waiver for the
future of any such provision or rule or option. The receipt by Landlord of any rent or
other charge due hereunder with knowledge of the breach of any provision of this Lease
shall not be deemed a waiver of such breach. No provision of this Lease shall be deemed
to have been waived unless such waiver be in writing signed by the Landlord. No
payment by Tenant or receipt by Landlord of a lesser amount than the monthly rent shall
be deemed to be other than on account of the earliest rent then unpaid nor shall any
endorsement or statement or any check or any letter accompanying any check or payment
as rent be deemed an accord and satisfaction, and Landlord may accept such check or
payment without prejudice to Landlord's right to recover the balance of such rent or
pursue any other remedy in this Lease, and no waiver by Landlord in respect to one tenant
shall constitute a waiver in favor of any other tenant in the Industrial Center.


                          ARTICLE 24.          XXIV. NOTICES

       Section 24.1.    Addresses. Except as ·otherwise provided for herein, any notice,
demand, request, consent, approval or other communication which either party hereto is
required or desires to give, make, or communicate to the other shall be in writing and
shall be given, made, or communicated by United States certified mail, addressed, in the
case of Landlord:




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                                  CHESHIRE DISTRIBUTION CENTER, L.L.C.
                                  c/o Oaktree Capital Management, LLC
                                  1301 Avenue of the Americas, 34th floor
                                  New York, New York 10019
                                  Attention: Phil Hofmann, Managing Director

                                  with copies to:


                                  MARC POROSOFF, ESQUIRE
                                  Oaktree Capital Management, LLC
                                  1301 Avenue of the Americas, 34th floor
                                  New York, NewYork 10019

                                                - and-

                                  MARC J. BECKER, ESQUIRE
                                  Goldfarb and Fleece
                                  345 Park A venue, 33rd Floor
                                  New York, New York 10154


and addressed, in the case of Tenant, to Tenant's address contained in the preamble of
this Lease, Attn: Real Estate and Properties, subject to the right of either party to
designate a different address by notice similarly given, made or communicated, as the
case may be, any such notice to be effective on the date the same was deposited in the
United States mail as certified matter, with postage thereon fully prepaid.

             ARTICLE 25.        SUBORDINATION AND ATTORNMENT

       Section 25.1.    Subordination. This Lease and the rights of Tenant hereunder are
and shall be automatically subordinate to the lien of any mortgage now or hereafter in
force against the land and/or buildings of which the Demised Premises are a part against
any buildings hereafter placed upon the land of which the Demised Premises are a part
and to all advances made or hereafter to be made upon the security thereof, and to any and
all extensions, renewals, modifications or replacements thereof, and to any ground or
underlying lease of the land or buildings. Within ten (10) days of Landlord's written
request, Tenant shall execute any agreement reasonably required by any mortgagee or
landlord, confirming the foregoing subordination of this Lease. In the event Tenant fails
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to execute and furnish such agreement to Landlord within said ten (10) day period,
Landlord may thereafter terminate this Lease upon ten (10) days prior written notice to
Tenant.

       Section 25.2.      Attomment. Tenant shall, in the event of the sale or assignment
of Landlord's interest in the Building of which the Demised Premises form a part or in the
event of any proceedings brought for the foreclosure of, or in the event of exercise of the
power of sale under any mortgage made by Landlord covering the Demised Premises,
attom to the purchaser and recognize such purchaser as Landlord under this Lease.

       Section 25.3.     Mortgagee Protection Clause. Tenant agrees to give any
mortgagee and/or trustees under any deed of trust or land under any ground lease, by
Registered Mail, a copy of any notice of default served upon Landlord under this Lease,
provided that prior to such notice Tenant has been notified, in writing, of the address of
such mortgagees and/or trust deed holders and/or landlords. Tenant further agrees that if
Landlord shall have failed to cure such default within the time provided for in this Lease,
then the mortgagees and/or trust deed holders and/or landlords shall have an additional
thirty (30) days within which to cure such default or if such default cannot be cured
within that time, then such additional time as may be necessary if within such thirty (30)
days, any mortgagee and/or trust deed holder and/or landlord has commenced and is
diligently pursuing the remedies necessary to cure such default, (including but not limited
to commencement of foreclosure proceedings, if necessary to effect such cure) in which
event this Lease shall not be terminated while such remedies are being so diligently
pursued.


                   ARTICLE 26.          HAZARDOUS MATERIALS

       Section 26.1.     Tenant shall not cause or permit any Hazardous Materials, as
herein defined, to be brought upon, stored, treated, used, produced, generated, emitted,
disposed, discharged, or released (collectively known as "handled" or "handle") upon,
about, above or beneath the Demised Premises or the Industrial Center. Notwithstanding
the foregoing, (i) normal quantities of those Hazardous Materials customarily used in the
conduct of general administrative and executive office activities (e.g., copier fluids and
cleaning supplies) may be used and stored at the Premises without Landlord's prior
written consent, and (ii) in connection with the Permitted Use of the Demised Premises,
Tenant shall be allowed to receive and send shipments of Hazardous Materials, but only
in compliance with all applicable Environmental Laws, as defined herein and with the
highest prevailing industry standards. These Hazardous Materials referred to in

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subdivisions (i) and (ii) of the preceding sentence shall be known as "Tenant's Hazardous
Materials" and shall be handled in accordance with all applicable federal, state and local
laws, statutes, ordinances, regulations, codes, rulings, policies, requirements, orders and
decrees including, but not limited to, the Resource Conservation Recovery Act of 1976
(42 U.S.C .. 6901 et seq.), as amended, and the Comprehensive Environmental Response
Compensation and Liability Act (42 U.S.C .. 9601 et seq.), as amended (collectively
known as "Environmental Laws") relating to the industrial hygiene, environmental
protection or the handling, use, analysis, generation, manufacture, storage, presence,
disposal or transportation of Hazardous Materials, defined below. Tenant hereby agrees
to pay the costs of all remediation and corrective measures made necessary or desirable in
the event that Tenant shall breach the provisions of this Article. Tenant hereby
indemnifies and agrees to defend and hold harmless, Landlord and its managing agent and
its or their respective affiliates, principals, shareholders, officers, directors, partners,
members, trustees, fiduciaries, servants, agents and employees from and against any and
all liabilities, damages, suits, causes, actions, penalties, costs, charges, fees and expenses,
including, without limitation, attorneys' fees and disbursements, for death or injury to any
person or damage to any property whatsoever (including water tables and atmosphere) or
otherwise resulting from Tenant's failure to comply with its obligations, duties and
responsibilities under this Article. For purposes of this indemnity, Tenant shall have the
burden of proof to establish any pre-existing environmental conditions affecting the
Demised Premises by conducting an environmental audit of the property. Any acts or
omissions of Tenant or its employees, agents, customers, invitees, sub-lessees, assignees,
contractors or sub-contractors (whether or not they are negligent, intentional, willful or
unlawful) shall be strictly attributable to Tenant hereunder. Tenant agrees to execute
affidavits, representations and the like from time to time at Landlord's request conveying
Tenant's best knowledge and belief regarding the presence of Hazardous Materials in the
Demised Premises.


               Tenant shall at its own expense procure, maintain in effect and comply with
all conditions of any and all permits, licenses and other governmental and regulatory
approvals required for Tenant's use of the Demised Premises, including, without
limitatio;n, discharge of (appropriately treated) materials or waste into or through any
sanitary sewer system serving the Demised Premises. Except as discharged in strict
accordance and conformity with all applicable Environmental Laws, Tenant shall cause
any and all Hazardous Materials to be removed from the Demised Premises and
transported solely by duly licensed facilities for final disposal of such Hazardous
Materials. Tenant shall in all respects handle any and all Hazardous Materials in, on,
under or about the Demised Premises in complete conformity with all applicable
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Environmental Laws and prudent industry practice regarding the management of such
Hazardous Materials. All reporting obligations to the extent imposed upon Tenant by
Environmental Laws are solely the responsibility of Tenant. Upon expiration or
termination of this Lease, Tenant shall cause all Tenant's Hazardous Materials to be
removed from the Demised Premises and transported for use, storage or disposal in
accordance and in compliance with all applicable Environmental Laws. Tenant shall not
take any remedial action in response to the presence of Hazardous Materials in, on or
about the Demised Premises or in the Industrial Center, nor enter into any settlement
agreement, consent, decree or other compromise in respect to any claims relating to or in
any way connected with the Demised Premises or the Industrial Center without first
notifying Landlord of Tenant's intention to do so and affording Landlord thirty (30) days
to appear, intervene or otherwise appropriately assert and protect Landlord's interest with
respect thereto. In addition, at Landlord's request, at the expiration of the Lease Term,
Tenant shall remove all tanks or fixtures which were placed on the Demised Premises
during the Lease Term and which contain, have contained or are contaminated with,
Hazardous Materials.

              Tenant shall immediately notify Landlord in writing of (a) any enforcement,
clean-up, removal or other governmental or regulatory action instituted, completed or
threatened pursuant to any Environmental Laws; (b) any claim made or threatened by any
person against Landlord or the Demised Premises relating to damage, contribution, cost
recovery, compensation, loss or injury resulting from or claimed to result from any
Hazardous Materials; and (c) any reports made to any environmental agency arising out of
or in, on or about the Demised Premises or in connection with any Hazardous Materials
removed from the Demised Premises, including any complaints, notices, warnings,
reports or asserted violations in connection therewith. Tenant shall also provide to
Landlord, as promptly a possible, and in any event within five (5) business days after
Tenant first receives or sends the same, copies· of all claims, reports, complaints, notices,
warnings or asserted violations relating in any way to the Demised Premises or Tenant's
use thereof. Upon written request of Landlord (to enable Landlord to defend itself from
any claim or charge related to any Environmental Law), Tenant shall promptly deliver to
Landlord lists of Hazardous Materials removed or to be removed from the Demised
Premises. All such lists shall list the Tenant or its agent as a responsible party and in no
way shall attribute responsibility for any such Hazardous Materials to Landlord.

             "Hazardous Materials" means: (a) any material or substance; (i) which is
defined or becomes defined as a "hazardous substance," "hazardous waste," "infectious
waste," "chemical mixture or substance," or "air pollutant" under Environmental Laws;

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(ii) containing asbestos, urea formaldehyde or polychlorinated biphenyls, (iii) which is oil
or petroleum product, (iv) which is radioactive; or (b) any other material or substance
displaying toxic, reactive ignitable or corrosive characteristics, as all such terms are used
in their broadest sense, and are defined or become defined by Environmental Laws; or (c)
materials which cause a nuisance upon or waste to the Demised Premises or any portion
of the Industrial Center.

              If any lender or governmental agency requires Landlord to test for a release
of Hazardous Materials on the Demised Premises, or if Landlord reasonable believes that
Tenant may have violated an Environmental Law or the terms of this Article, Tenant
shall, within thirty (30) days following Landlord's demand, supply to Landlord at
Tenant's sole cost and expense an environmental report of the Demised Premises and the
use of the Demised Premises addressing Landlord's concerns and demonstrating whether
Tenant's use of the Demised Premises has violated or is violating any Environmental
Laws, prepared by a reputable independent licensed environmental contracting firm, in
form, substance and detail reasonably satisfactory to Landlord. Such report shall be
delivered to Landlord and shall be kept strictly confidential by Tenant.

              Tenant agrees to clean its trucks in compliance with Environmental Laws
such that any run off from the cleaning of Tenant's trucks shall not spill into landscaped
areas or drains.

              Tenant acknowledges that Landlord has~de no representations to Tenant
with respect to the compliance of the Demised Premises with Environmental Laws.

               The obligations of Tenant under this Article shall survive the termination of
this Lease.

                ARTICLE 27.          MISCELLANEOUS PROVISIONS

        Section 27.1.    Headings. The captions of the Articles and Sections of this Lease
are for convenience only and shall not be considered or referred to in resolving questions
of interpretation or construction.

      Section 27.2.     Time of Essence. Time is of the essence with respect to the
performance of each of the covenants and agreements under this Lease.

       Section 27.3.    Construction of Lease. Parts of this Lease which are written or
typed hereon control parts which are pretyped, but pretyped parts of this Lease which are

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superseded by written or typewritten parts may be utilized in the interpretation of such
pretyped parts. Tenant declares that Tenant has read and understands all parts of this
Lease, including all pretyped parts hereof. It is agreed that in the construction and
interpretation of the terms of this Lease any rule of construction that a document is to be
construed most strictly against the party who prepared the same shall not be applied, it
being agreed that both parties hereto have participated in the preparation of the final form
of this Lease.

      Section 27.4.    Governing Law. This Lease and the enforcement hereof shall be
governed by the laws of the state in which the Industrial Center is located.

        Section 27.5. . Severability. If any provision of this Lease or any paragraph,
sentence, clause, phrase or word appearing herein be judicially or administratively held
invalid or unenforceable for any reason whatsoever, such holding shall not be deemed to
affect, alter, modify or impair in any manner whatsoever any other term, provision,
paragraph, sentence, clause, phrase or word appearing therein.

       Section 27.6.    Interest Rate. Where under the terms of this Lease interest shall
be provided for, such interest, unless a specific interest rate is set forth, shall be at a rate
equal to the prime rate of JP Morgan Chase Manhattan Bank, or any successor thereto,
plus three percent (3%), but in no event greater than the highest lawful rate of interest per
annum permissible under the law of the state in which the Industrial Center is located, and
shall accrue from the date when the same becomes due and payable by the terms and
provisions hereof until paid and shall continue after any judgment until fully satisfied, to
which shall be added reasonable attorneys' fees and costs.

        Section 27.7.     Consent of Landlord. Where, under the terms of this Lease, the
consent of Landlord shall be required, such consent, unless otherwise provided for herein,
may be arbitrarily withheld. If Tenant shall ·request Landlord's consent and Landlord
shall fail or refuse to give such consent, Tenant shall not be entitled to any damages for
any withholding by Landlord of its consent, it being intended that Tenant's sole remedy
shall be an action for specific performance or injunction, and that such remedy shall be
available only in those cases where Landlord has expressly agreed in writing not to
unreasonably withhold its consent or where as a matter of law Landlord may not
unreasonably withhold its consent.

      Section 27.8.     Entire Agreement. This Lease and the exhibits, riders and/or
addenda, if any, attached hereto contain all covenants and agreements between Landlord
and Tenant relating in any manner to the rental, use and occupancy of the Demised

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Premises and the other matters set forth in this Lease. No prior agreement or understand-
ing pertaining to the same shall be valid or of any force or effect, and the covenants and
agreements of this Lease cannot be altered, changed, modified or added to, except in
writing signed by Landlord and Tenant. No representation, inducement, understanding or
anything of any nature whatsoever, made, stated or represented on Landlord's behalf,
either orally or in writing (except this Lease), has induced Tenant to enter into this Lease.
 The submission of this document for examination does not constitute an offer to lease, or
a reservation of an option for the Demised Premises, and becomes effective only upon
execution and delivery thereof by Landlord and Tenant.

       Section 27.9.     Default Under Other Agreements. Any default by Tenant under
any instrument, undertaking or agreement executed by Tenant in favor of or with
Landlord relating to this Lease, or the tenancy created hereby, shall constitute a breach of
this Lease and entitle Landlord to pursue each and all of its rights and remedies hereunder
and at law.

       Section 27.10. Objection to Statements.        Tenant's failure to object to any
statement, invoice or billing rendered by Landlord within a period of thirty (30) days after
receipt thereof shall constitute Tenant's acquiescence with respect thereto and shall render
such statement, invoice or billing an account stated between Landlord and Tenant.

       Section 27.11. Brokerage Commission. Tenant and· Landlord represent and
warrant to the other that there are no claims for brokerage commissions or finder's fees
incurred by them, respectively, in connection with the execution of this Lease except for
Landlord's broker, Cushman & Wakefield of Connecticut, Inc. (the "Broker") and each
party agrees to indemnify the other against and hold it harmless from all liabilities arising
from any such claims other than that of the Broker, including the cost of counsel.

       Section 27.12. Relationship of Parties. Anything in this Lease to the contrary
notwithstanding, it is agreed that Landlord shall in no event be deemed to be a partner or
engaged in a joint venture with or any associate of Tenant, or any party associated with
Tenant in the conduct of its business or otherwise, nor shall Landlord be liable for any
debts incurred by Tenant in the conduct of its business. The relationship of Landlord and
Tenant as established by this Lease is that of Landlord and Tenant. None of the language
or terminology of this Lease shall be construed to create any other form of relationship
between Landlord and Tenant.

       Section 27.13. Memorandum of Lease. Tenant represents that it shall not record
this Lease and acknowledges that such representation is a material term of this Lease.

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However, on and after the occurrence of the Commencement Date, and at the request of
either party, Landlord and Tenant shall execute a memorandum of lease and starting date
agreement in form reasonably acceptable to Landlord. Either party may then record such
memorandum with the party so recording paying all costs and expenses in connection
with such recording.

        Section 27.14. Past Due Rent. If Landlord shall fail to receive, when the same is
due and payable, any Minimum Rent, Additional Rent or other amounts or charges to be
paid to Landlord by Tenant, as provided in this Lease, Tenant shall pay as Additional
Rent interest thereon until fully paid, which shall continue after any judgment until fully
satisfied, and if same is not paid within fifteen (15) days of its due date Tenant shall pay
as Additional Rent, a late charge equal to five percent (5%) of each installment past due
to cover the administrative costs and expenses involved in administering delinquent
accounts.

       Section 27.15. Limitation of Liability. Anything in this Lease to the contrary
notwithstanding, Tenant agrees that it shall look solely to the estate and property of the
Landlord in the land and buildings comprising the Industrial Center of which the Demised
Premises are a part, and subject to the prior rights of any mortgagee of the Industrial
Center and subject to Landlord's rights under a leasehold interest of the Industrial Center
or part thereof, if any, for the collection of any judgment (or other judicial process)
requiring the payment of money by Landlord in the event of any default or breach by
Landlord with respect to any of the terms, covenants and conditions of this Lease to be
observed and/or performed by Landlord, and no other assets of the Landlord or its
managing agent, and its or their respective affiliates, principals, shareholders, officers,
directors, partners, members, trustees, fiduciaries, servants, agents and employees, shall
be subject to levy, execution or other procedures for the satisfaction of Tenant's remedies.

        Section 27.16. OFAC List Representation. Tenant represents and warrants that it
is not listed, nor is· it owned or controlled by, or acting for or on behalf of any person or
entity, on the list of Specially Designated Nationals and Blocked Persons maintained by
the Office of Foreign Assets Control of the United States Department of the Treasury, or
any other list of persons or entities with whom Landlord is restricted from doing business
with ("OF AC List"). Notwithstanding anything to the contrary herein contained, Tenant
shall not permit the Demised Premises or any portion thereof to be used, occupied or
operated by or for the benefit of any person or entity that is on the OFAC List. Tenant
shall provide documentary and other evidence of Tenant's identity and ownership as may
be reasonably requested by Landlord at any time to enable Landlord to verify Tenant's
identity or to comply with any Legal request. Tenant shall indemnify and hold Landlord

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harmless from and against all losses, damages, liabilities, cost and expenses (including,
without limitation, reasonable attorneys' fees and expenses) that are incurred by Landlord
and/or its affiliate that derive from a claim made by a third party against Landlord and/or
its affiliates arising or alleged to arise from a misrepresentation made by Tenant
hereunder or a breach of any covenant to be performed by Tenant hereunder.

        Section 27.17. Landlord and Tenant acknowledge and agree that in no event
shall any of the partners, members, shareholders, officers, directors, employees, agents or
investment managers (collectively, "Representatives") of Oaktree Capital Management,
LLC , have any personal obligation or liability whatsoever with respect to this Lease, the
transactions contemplated hereby, or otherwise (such obligation and liability being the
sole responsibility of Landlord). Landlord and Tenant further acknowledge and agree
that all obligations and liabilities of Landlord under this Lease or in connection herewith
are enforceable solely against Landlord and not against the assets of Oaktree Capital
Management, LLC.

                      ARTICLE 28.           SECURITY DEPOSIT

       Section 28.1.    Tenant has deposited the sum of $111,000.00 with Landlord as a
"Security Deposit" which shall be held by Landlord as security for the punctual
performance by Tenant of each and every obligation of it under this Lease. In the event
of any default by Tenant, Landlord may apply or retain all or any part of the Security
Deposit to cure the default or to reimburse Landlord for any sum which Landlord may
spend by reason of the default. In the case of every such application or retention Tenant
shall on demand, pay to Landlord the sum so applied or retained which shall be added to
the Security Deposit so that the same shall be restored to $36,000.00. If at the end of the
Term of this Lease, Tenant shall not be in default under this Lease, but not otherwise, the
Security Deposit shall be returned to Tenant within thirty (30) days to the extent same has
not been retained or applied by Landlord in accordance with the provisions of Section
28.01.

       Section 28.2.    Notwithstanding anything to the contrary contained herein,
Landlord shall have the right to use a portion of the Security Deposit to pay certain initial
expenses of Landlord in entering into this Lease, including, but not limited to, the cost of
Landlord's Work and the Tenant Allowance ("Initial Landlord Costs"). To the extent that
Tenant is not in default under any of the terms, covenants and conditions of this Lease,
such Initial Landlord Costs, to the extent paid by Landlord, shall be applied against the
next accruing Minimum Rent payable by Tenant hereunder. In the event that by virtue of
the payment of the Initial Landlord Costs, the Security Deposit is reduced below

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$36,000.00, Tenant shall on demand, pay to Landlord the sum required to restore the
Security Deposit to $36,000.00.



                    ARTICLE 29.          TENANT ALLOWANCE

       Section 29.1.    (a) Landlord agrees to pay to Tenant a one-time construction
allowance (the "Construction Allowance"), as Landlord's sole obligation and contribution
for Tenant to repair or install the following components of Tenant's Initial Work; dock
equipment, parking expansion (subject to the provisions hereof), overhead doors, swing
area style lamps, dock seals, edge of dock levelers and adding or replacing dock
equipment as necessary, in an amount equal to SIXTY FIVE THOUSAND and 00/100
($65,000.00) DOLLARS. Once all unfinished doors are suitably equipped, Tenant may
use the remaining Construction Allowance, if any, for expanded parking as provided in
Article XXXI or other improvements to be mutually agreed upon by Landlord and
Tenant.

              (b)    Provided Tenant is not then in default under any of the terms,
covenants or conditions of this Lease on Tenant's part to be observed or performed, the
Construction Allowance shall be paid to Tenant within thirty (30) days after the latest of
the following to occur:

                           (i)   Tenant shall have submitted to Landlord a written
certification from Tenant's general contractor stating that the Initial Tenant's Work is
complete;
                            (ii) Tenant shall have submitted to Landlord an executed
and acknowledged final waiver and release of mechanics' liens, in form required by
Landlord, with respect to the Demised Premises executed by Tenant's general contractor
and by every subcontractor and supplier of labor and/or materials engaged in Initial
Tenant's Work;
                           (iii) Tenant shall have submitted to Landlord a final
Certificate of Occupancy for the Demised Premises (or other similar final permit from the
appropriate Governmental Authority stating that Tenant can legally occupy the Demised
Premises);
                         (iv) Tenant shall have paid to Landlord the first (1st)
installment of Minimum Rent hereunder; and


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                          (vi) Tenant shall have submitted to Landlord paid receipts
or other evidence of payment, in form reasonably acceptable to Landlord, for the cost and
expense of the Initial Tenant's Work, in an amount equal to or in excess of the
Construction Allowance.
                     (c)   All appurtenances, fixtures, improvements, additions and
other property (including personal property) acquired with proceeds of the Construction
Allowance which are attached to or installed or located in the Demised Premises, whether
by Landlord or Tenant or others (the "Construction Allowance Property"), shall be and
remain at all times the property of Landlord. Any replacements of any .Construction
Allowance Property, whether made at Tenant's expense or otherwise, shall be and remain
the property of Landlord.


                        ARTICLE 30.          RENEWAL TERM

       Section 30.1.    (a) Provided that Tenant is not then in Default under the terms of
this Lease and provided further that this Lease has not theretofore been terminated
pursuant to the provisions hereof Tenant shall have the option to renew this Lease for one
additional period of three CJ) years (the "Renewal Term"). The option to renew shall
expire and be of no force or effect unless exercised by Tenant giving written notice
thereof to Landlord twenty-four (24) months prior to the expiration of the original Term.

               (b)    All of the terms, conditions and provisions of this Lease shall remain
in full force and effect during the Renewal Term, except that the Minimum Rent shall be
as follows:

               (i)   During the first Lease Year of the Renewal Term, at an annual rate
.equal to the greater of (x) the fair market rental value of the Demised Premises
determined as provided in subsection (c) of this Section 30.01 and (y) the Minimu_m Rent
payable for the fifth Lease Year of the Lease Term increased by the greater of (i) three
(3%) percent or (ii) the percentage change in the "Consumer Price Index" for the fifth
Lease Year measured from the first month of the fifth Lease Year to the twelfth (12th)
month of the fifth Lease Year. Landlord and Tenant agree that the Minimum Rent for the
 second and third Lease Years of the Renewal Term shall increase in the same manner as
the Minimum Rent is increased during the original term in accordance with the provisions
 of Section 1.08B.




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       (c)    If Tenant shall exercise its option to renew the Term of this Lease, then the
fair market rental value of the Demised Premises for the first year of the Renewal Term
shall be determined as follows:

               (i)    If the parties cannot agree upon a fair market rental value, then each
shall select an appraiser to make an individual judgment as to the fair market rental value.
 If the two appraisers cannot agree upon the fair market rental value, they shall select a
third appraiser, whose judgment as to fair market rental value shall be binding upon the
parties. In the event of the failure of Landlord or Tenant to designate an appraiser within
thirty (30) days after Tenant exercises any such option, or in the event of the failure of the
two appraisers designated to select a third appraiser, either party shall have the right to
apply to the County Court of the county in which the Demised Premises is located to
designate an appraiser or appraisers.

             (ii)   All appraisers designated under this subsection (c) shall be members
of the American Institute of Real Estate Appraisers.

              (iii) In determining the fair market rental value of the Demised Premises,
the appraisers, in arriving at their decision, shall be bound by the provisions of this Lease,
and shall not add to, subtract from, or otherwise modify such provisions.

              (iv) The determination of the appraisers shall be final and binding on the
parties and shall be retroactive to the first day of the Renewal Term. Until said Minimum
Rent has been determined, as provided in this subsection (c), Tenant shall continue to pay
the Minimum Rent stipulated during the original Term.

       (d)    No option granted to Tenant to renew this Lease, nor the exercise of any
such option by Tenant, shall prevent Landlord from exercising any right granted or
reserved to Landlord in this Lease or which Landlord may have by virtue of any law to
terminate this Lease, either during the original Term or during the Renewal Term. Any
termination of this Lease shall serve to terminate any renewal option whether or not
Tenant shall have exercised same. Any right on the part of Landlord to terminate this
Lease shall continue during the Renewal Term, and no option granted to Tenant to renew
this Lease shall be deemed to give Tenant any further option to renew beyond the
Renewal Term.




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                    ARTICLE 31.          ADDITIONAL PARKING

       Section 31.1.     Subject to the terms and provisions of this Article, Tenant shall
have the right, at Tenant's sole cost and expense, without any increase in the Minimum
Rent payable by Tenant to Landlord hereunder, to construct a parking lot up to 26,000
square feet in size where indicated by outlining on the site plan annexed hereto and made
a part hereof as Exhibit A (such area is referred to herein as the "Optional Parking Area")
and use the Optional Parking Area for Tenant's exclusive use as a parking area for
Tenant's trucks. Prior to performing such work, Tenant agrees to submit to Landlord, for
Landlord's approval, a detailed set of plans and specifications for the Optional Parking
Area (the "Parking Plans"). In the event that Landlord approves the Parking Plans,
Tenant shall, at Tenant's sole cost and expense, procure, maintain and exhibit to Landlord,
so far as the same may be required from time to time, all permits, certifications,
authorizations and approvals of all municipal departments and governmental
subdivisions, required in connection with Tenant's construction use of the Optional
Parking Area. Notwithstanding the foregoing provisions of this Section 31.01 and
Landlord's consent to the Parking Plans, Tenant's construction and use of the Optional
Parking Area, as set forth herein, shall be in full compliance with (i) all applicable laws,
orders and regulations of Federal, State County and Municipal authorities, (ii) the
Building Rules and Regulations, (iii) all of the provisions of this Lease including, but not
limited to Article V, and (iv) any reasonable rules and regulations adopted by Landlord
from time to time.

       Section 31.2.     Notwithstanding anything to the contrary set forth in Section
31.01, (i) Tenant acknowledges that Landlord makes no representation to Tenant as to
whether or not Tenant shall be entitled to use the Optional Parking Area as set forth in
said Section and (ii) in the event that Tenant is prohibited from the use of the Optional
Parking Area for any reason, including, but not limited to, the refusal of either Landlord
or any applicable governmental entity to approve the Parking Plans, then in either event,
Tenant shall not be entitled to any abatement or diminution of rent or be relieved from
any of its obligations under the Lease, and Landlord shall not incur any liability or
obligation to Tenant.

        Section 31.3.   Tenant agrees that from and after the date that Tenant
commences construction of the Optional Parking Area, Tenant shall be responsible for
cleaning, maintaining, repaving and insuring the Optional Parking Area. Tenant agrees
that all work performed by Tenant in constructing the Optional Parking Area shall be
performed in a manner which shall minimize interference or disturbance to other tenants
of the Building.

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       Section 31.4.     Tenant agrees to indemnify and save Landlord and Landlord's
agents harmless of and from all loss, cost, liability, damage and expense including, but
not limited to, reasonable counsel fees, penalties and fines, incurred in connection with or
arising from the use or occupancy or manner of use or occupancy of the Optional Parking
Area by Tenant or any person claiming through or under Tenant, notwithstanding thatthe
Optional Parking Area is not contained within the Demised Premises nor shall any
provision of this Lease vest in Tenant any rights in or to the Optional Parking Area.

        Section 31.5.     In the event that Landlord desires to expand the Building such
that Landlord shall require the use of all or any portion of the Optional Parking Area, in
Landlord's sole and absolute discretion, Landlord may give to Tenant a notice terminating
Tenant's right to use the Optional Parking Area in which event Tenant shall have no
further right to use the Optional Parking Area for any purpose. However, in lieu thereof,
Tenant shall have the right to construct and use another parking area where designated on
the site plan as the "Alternative Parking Area;, and should Tenant elect to do so, all of the
terms and provisions of this Article 31 applicable to the Optional Parking Area shall be
fully applicable to the Alternative Parking Area.



                 IN WITNESS WHEREOF, the parties hereto have set their hands and seals
on this   2-'3    day of July, 2005.


LANDLORD:                                                TENANT:

CHESHIRE DISTRIBUTION CENTER, L.L.C.                     ROADWAY EXPRESS, INC.
By:  Oaktree Capital Management, LLC,
     Its manager


By:£~;;{ tS__


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                                  EXHIBIT A




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                                      EXHIBITB
                                 (Rules and Regulations)

       I.   Tenant shall advise and cause its vendors and distributors to deliver all
merchandise in a manner that does not interfere with Landlord's and other tenant's use
and enjoyment of the Industrial Center.

       2.    All deliveries and pick ups are to be made to designated service or receiving
areas and Tenant shall request delivery trucks to approach their service or receiving areas
by designated service routes and drives.

       3.      Tractor trailers which must be unhooked or parked must use steel plates
under dolly wheels to prevent damage to the asphalt paving surface. In addition, wheel
blocking must be available for use. Tractor trailers are to be removed from the loading
areas after unloading.

       4      Automobiles and other vehicles of Tenant and its employees and agents
shall be parked only in areas designated by Landlord from time to time as "employee
parking." There shall be absolutely no overnight parking of any kind by Tenant or its
employees or agents at the Industrial Center. Landlord shall have the right to remove or
cause to be removed any automobile or other vehicle of Tenant, its employees or agents
that may be parked in any other area not designated for employee parking or which may
be parked overnight. Any such removal shall be without liability of any kind to Landlord,
its agents and employees and Tenant hereby indemnifies and agrees to hold Landlord free
and harmless against all such liability pursuant to the indemnity provisions contained in
this Lease. Tenant shall, from time to time, upon request of Landlord, supply Landlord
with a list of all automobile models and license plate numbers owned by its employees
and agents.                                    ·

       5.     Tenant is responsible for storage and removal of its trash, refuse and
garbage. Tenant shall not dispose of the following items in sinks or commodes:
Hazardous Waste; plastic products (plastic bags, straws, boxes); sanitary napkins; tea
bags; cooking fats, cooking oils; any meat scraps or cutting residue; petroleum products
(gasoline, naphtha, kerosene, lubricating oils); paint products (thinner, brushes); or any
other items which the same are not designed to receive. All floor area of the Demised
Premises, including vestibules, entrances and returns, loading docks, doors, fixtures,
windows and plate glass, shall be maintained in a safe, neat and clean condition.

       6      Tenant shall not permit or suffer any advertising medium to be placed on
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 the Building's walls, on the Demised Premises' exterior walls or windows, on the
 sidewalks or on the parking lot areas or light poles. No permission, expressed or implied,
 is granted to expressed or implied, is granted to exhibit or display any banner, pennant,
 sign and trade or seasonal decoration of any size, style or material within the Industrial
 Center, or outside the Demised Premises.

         7      Tenant shall not permit or suffer the use of any advertising medium which
  can be heard or experienced outside of the Demised Premises, including, without limiting
  the generality of the foregoing, flashing lights, searchlights, loud speakers, phonographs,
. radios or television. No radio, television or other communication antenna equipment or
  device is to be mounted, attached, or secured to any part of the roof, exterior surface, or
  anywhere outside the Demised Premises, unless Landlord has previously given its written
  consent, which may be arbitrarily withheld.

        8.      Tenant shall not permit or suffer merchandise of any kind at any time to be
 placed, exhibited or displayed outside the Demised Premises, nor shall Tenant use the
 exterior sidewalks, loading docks or exterior walkways of the Demised Premises to
 display, store or place any merchandise. No sale of merchandise by tent sale, truck load
 sale or the like, shall be permitted on the Industrial Center's drives, parking lot or other
 Common Facilities.

         9.     Tenant shall not permit or suffer any portion of the Demised Premises to be
 used for retail residential, lodging purposes, sleeping, manufacturing, or any immoral or
 illegal, purpose.

        10.     Tenant shall not, in or on any part of the Common Facilities or to other
 tenants at the Industrial Center:

                (a)   Create a nuisance.

              (b)     Throw, discard or deposit any paper, glass or extraneous matter of
 any kind except in designated receptacles, or create litter or hazards of any kind.

               (c)     Deface, damage, or demolish any sign, light standard or fixture,
 landscaping materials or other improvements within the Industrial Center, or the property
 of other tenants, business invitees or employees situated within the Industrial Center.

         11.    No additional locks or bolts of any kind shall be placed upon any of the

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entrances, doors or windows by Tenant, nor shall any changes be made in existing locks
or the mechanism thereof. Each Tenant must, upon the termination of its tenancy, restore
to Landlord all keys of entrances, doors, offices, and toilet rooms, either furnished to, or
otherwise procured by, such Tenant, and in the event of the loss of any keys so furnished,
such Tenant shail pay to Landlord the cost thereof and the cost of any locksmith or other
service required by Landlord to obtain access to the Demised Premises, and in the event
safes, closets of other lockable fixtures were installed in the Demised Premises, Tenant
shall give all keys or combinations thereto to Landlord.

       12    Landlord shall have the right to prohibit any advertising, signage or other
display by any Tenant which, in Landlord's opinion, tends to impair the reputation of the
Industrial Center or its desirability as an industrial center, and upon written notice from
Landlord, the Tenant shall refrain from or discontinue such advertising, signage or
display.




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